           In The Matter Of:
    Fayetteville Public Library, et al v.
     Crawford County, Arkansas, et al




      Donald Nathan Coulter, Esq.
             April 1, 2024
CERTIFIED ORIGINAL/COPY TRANSCRIPT



        Michelle Satterfield, CCR
         1955 Little River Drive
        Conway, Arkansas 72034
              (501)336-7414
       Satterfield@conwaycorp.net




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Fayetteville Public Library, et al v.   CERTIFIED ORIGINAL/COPY TRANSCRIPT                          Donald Nathan Coulter, Esq.
Crawford County, Arkansas, et al                                                                                  April 1, 2024
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 1          IN THE UNITED STATES DISTRICT COURT                  1            A P P E A R A N C E S (CONTINUED)
               WESTERN DISTRICT OF ARKANSAS
 2                   FAYETTEVILLE DIVISION                       2   MR. BENJAMIN M. SEEL
                                                                     Attorney at Law
 3 FAYETTEVILLE PUBLIC LIBRARY, a political                      3   Democracy Forward Foundation
   subdivision in the City of Fayetteville,                          P.O. Box 34554
 4 State of Arkansas; EUREKA SPRINGS CARNEGIE                    4   Washington, DC 20043
   PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY                          bseel@democracyforward.org
 5 SYSTEM; NATE COULTER; OLIVIA FARRELL;                         5                         (VIA ZOOM)
   HAYDEN KIRBY;MIEL PARTAIN, in her own capacity                    *** For the Arkansas Library Association, Advocates for
 6 and as parent and next friend of MADELINE PARTAIN;            6   All Arkansas Libraries and Adam Webb, in his individual
   LETA CAPLINGER; ADAM WEBB;                                        capacity ***
 7 ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR                   7
   ALL ARKANSAS LIBRARIES; PEARL'S BOOKS, LLC;                       MR. MICHAEL A. BAMBERGER
 8 WORDSWORTH COMMUNITY BOOKSTORE, LLC, d/b/a                    8   Attorney at Law
   WORDSWORTH BOOKS; AMERICAN BOOKSELLERS ASSOCIATION;               Dentons US, LLP
 9 ASSOCIATION OF AMERICAN PUBLISHERS,INC.; AUTHORS              9   1221 Avenue of the Americas
   GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND                        New York, NY 10020
10 and FREEDOM TO READ FOUNDATION,                 PLAINTIFFS   10   michael.bamberger@dentons.com
                                                                                           (VIA ZOOM)
11 vs.                                  NO. 5:23-CV-05086-TLB   11   *** For the Plaintiffs, Pearl's Books, LLC; Wordsworth
                                                                     Community Bookstore, LLC; American Booksellers
12 CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his               12   Association; Association of American Publishers, Inc.;
   official capacity as Crawford County Judge;                       Authors Guild, Inc; Comic Book Legal Defense Fund; and
13 TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;                13   Freedom to Read Foundation ***
   MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
14 HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;               14   MR. GLENN V. LARKIN
   JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;               MR. PHILIP A. ELMORE
15 DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,         15   Attorneys at Law
   II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.                   Quattlebaum, Grooms & Tull, PLLC
16 LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;         16   4100 Corporate Center Drive, Suite 310
   CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK                Springdale, Arkansas 72762
17 GRAHAM, each and in his or her official capacity as a        17   glarkin@qgtlaw.com
   prosecuting attorney for the State of Arkansas, DEFENDANTS        pelmore@qgtlaw.com
18                                                              18                        (VIA ZOOM)
                                                                     *** For the Plaintiff, Fayetteville Public Library ***
19                                                              19
                       ORAL DEPOSITION
20                                                              20
                               OF
21                                                              21
                  DONALD NATHAN COULTER, ESQ.
22                                                              22
23 ***** THE ABOVE-STYLED MATTER was reported by Michelle R.    23
   Satterfield, CCR, LS Certificate No. 570, at the Fuqua
24 Campbell, P.A., located at 3700 Cantrell Road, Suite 205,    24
   Little Rock, Arkansas, commencing on the 1st day of April
25 2024, at 9:07 a.m. *****                                     25

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   Attorney at Law
 3 Fuqua Campbell, P.A.                                          3   APPEARANCES                                               2-3
   Riviera Tower - 3700 Cantrell Road, Suite 205
 4 Little Rock, Arkansas 72201                                   4   STIPULATIONS                                                5
   jadams@fc-lawyers.com
 5                                                               5   WITNESS SWORN:    Donald Nathan Coulter, Esq.               6
   *** For the Plaintiffs, Central Arkansas Library System,
 6 Nate Coulter and the Eureka Springs Carnegie Public           6            Examination by Mr. Watson                          6
   Library ***
 7                                                               7            Examination by Mr. McLelland                     121
   MR. NOAH WATSON
 8 Senior Assistant Attorney General                             8            Examination by Mr. Adams                         149
   Arkansas Attorney General's Offices
 9 323 Center Street, Suite 200                                  9            Further Examination by Mr. Watson                155
   Little Rock, Arkansas 72201
10 Noah.Watson@ArkansasAG.gov                                   10   REPORTER'S CERTIFICATE                                    160
11 *** For the State of Arkansas Prosecuting Attorneys ***      11                        E X H I B I T S
12 MS. BETTINA E. BROWNSTEIN                                    12   NUMBER                   DESCRIPTION                    PAGE
   Attorney at Law
13 Bettina E. Brownstein Law Firm                               13   Exhibit 1        Bates No. CALS00067                       36
   904 West 2nd Street, Suite 2
14 Little Rock, Arkansas 72201                                  14   Exhibit 2        Bates No. CALS00066                       37
   bettinabrownstein@gmail.com
15                                                              15   Exhibit 3        Bates Nos. CALS00001-CALS00004            42
   *** For the Plaintiffs, Olivia Farrell, Jennie Kirby,
16 Hayden Kirby and Leta Caplinger ***                          16   Exhibit 4        Bates No. CALS00005                       53
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17     Liberties Union Foundation, Inc. ***                     17   Exhibit 5        Bates Nos. CALS00006-CALS00008            66
18 MR. SAMUEL S. MCLELLAND                                      18   Exhibit 6        Bates Nos. CALS00009-CALS00025            66
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19 PPGMR Law, PLLC                                              19   Exhibit 7        CALS Internet Use Disclaimer              78
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 1      ANSWERS AND DEPOSITION OF DONALD NATHAN COULTER,         1 question and I get your answer, so it's clear on the
 2 ESQ., a witness produced at the request of the DEFENDANTS,    2 record. And if you don't understand a question, you need
 3 was taken in the above-styled and numbered cause on the       3 me to clarify, please ask me to do that.
 4 1st day of April 2024, before Michelle R. Satterfield,        4 A I will.
 5 CCR, a Notary Public in and for Faulkner County, Arkansas,    5 Q And if you don't, I'll just assume that you
 6 at the Law Offices of the Fuqua Campbell Law Firm, located    6 understand the question.
 7 at the Riviera Tower, 3700 Cantrell Road, Suite 205,          7 A Fair enough.
 8 Little Rock, Arkansas, at 9:07 a.m., pursuant to the          8 Q All right. So you've been deposed before. When was
 9 agreement hereinafter set forth.                              9 that?
10           STIPULATIONS                                       10 A I have given one deposition in my life and I'm -- it
11        IT IS STIPULATED AND AGREED by and between the        11 was circa 2013, '14.
12 parties through their respective counsel that the            12 Q Okay. And was that related to a case you were a
13 deposition of Donald Nathan Coulter, Esq. may be taken at    13 named plaintiff in?
14 the time and place designated pursuant to the Federal        14 A Yes.
15 Rules of Civil Procedure.                                    15 Q Okay. What case was that?
16               *****                                          16 A I had a dispute with an attorney who had associated
17                                                              17 me in a case in Arkansas over a fee.
18                                                              18 Q All right. And I think we can put that aside.
19                                                              19    Are you from Arkansas originally?
20                                                              20 A I am.
21                                                              21 Q Okay. What part?
22                                                              22 A I was born and raised in Nashville, Arkansas, in
23                                                              23 Howard County.
24                                                              24 Q My wife is from Delight, so not too far away from --
25                                                              25 A Delight is Pike County next door.


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 1         DONALD NATHAN COULTER, ESQ.                           1 Q Yes. And have you lived in Arkansas your whole life?
 2 the witness hereinbefore named, having been previously        2 A Yes, with the exception of the seven years I was a
 3 cautioned and sworn, or affirmed, to tell the truth, the      3 student.
 4 whole truth, and nothing but the truth, testified as          4 Q Okay.
 5 follows:                                                      5 A College and law school.
 6               EXAMINATION                                     6 Q So you went to Nashville for high school?
 7 BY MR. WATSON:                                                7 A I did.
 8 Q Good morning, Mr. Coulter.                                  8 Q And where did you go to college?
 9 A Good morning.                                               9 A Harvard.
10 Q I'm Noah Watson. I know we met earlier. I'm                10 Q Harvard. And law school?
11 representing the prosecuting attorneys and I'm with the      11 A Harvard.
12 Attorney General's Office. Hopefully we won't be here too    12 Q All right. Did you obtain any other degrees?
13 long, but we will see.                                       13 A I did. I have a Masters in Library Science from the
14     So first of all, have you ever been deposed?             14 University of Wisconsin, Milwaukee.
15 A Yes.                                                       15 Q Okay. And when did you obtain that?
16 Q Okay. When was that? Well, actually we'll get into         16 A In 2019.
17 that in just a second. If you've been deposed, you           17 Q Okay. Mr. Coulter, where are you currently employed?
18 probably know the ground rules, so I will just make sure I   18 A Central Arkansas Library System.
19 hit those real fast, so we're on the same page.              19 Q All right. And what is your position?
20     Yes and no -- and I understand you're an Attorney as     20 A I'm the Executive Director.
21 well, so I'm sure you've taken depositions, but if you       21 Q How long have you been the Executive Director?
22 would respond with yeses, nos, verbal answers, no uh-huhs,   22 A A little over eight years. I started in January of
23 huh-uhs, so the court reporter can get it.                   23 2016.
24 A Of course.                                                 24 Q Okay. Also, do you understand today that you are
25 Q Also, make sure we both finish talking, so you get my      25 testifying on behalf of the Central Arkansas Library


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 1 System and not on behalf of yourself?                         1 When the job came open, I applied.
 2 A I think that's correct. I've been designated, I             2 Q So as the Executive Director, what are your duties?
 3 guess, under Rule 30.                                         3 A Essentially my duties are to oversee the operations
 4 Q Yes. So I'll assume that you're speaking on behalf          4 of the library, to maintain its physical standing, its
 5 of CALS, unless you say otherwise.                            5 financial security, to report to the board, to prepare a
 6 A Well, I'm not sure about that assumption. I'm here          6 budget for to the board, to supervise the staff and
 7 on behalf of CALS, but I'm also a named party in the          7 supervise people down from them, to maintain the library's
 8 lawsuit, and obviously some things I may say might be         8 position in the community as much as possible, keep
 9 related to my assessment as a librarian and not               9 visibility to the library to remind people of the value of
10 necessarily on behalf of the library that I represent.       10 the library, the exchange they make for paying their
11 I'm not sure that I'm authorized to speak in every way       11 library taxes and the benefits they derive from that.
12 that I may speak today on behalf of the library, but I'm     12 From time to time, obviously, I'm asked to speak about
13 here as the designated witness for the organization that's   13 library issues and that's part of the job too.
14 also a Plaintiff in the lawsuit.                             14 Q As Executive Director -- well, I'll just speak to
15 Q Okay. And then I will, you know, try and tease that        15 CALS generally. So does CALS engage in lobbying or
16 out when we get there --                                     16 supporting of bills or acts before they're passed?
17 A Sure.                                                      17 A What do you mean by lobbying?
18 Q -- but if you'd help me and try --                         18 Q Yeah, just going to the legislature and saying we
19 A Sure.                                                      19 think this is a good bill, we don't think it's a good bill
20 Q -- and to make that distinction as well.                   20 and offering the view of CALS.
21 A I will. You need to help me, too.                          21 A The library, as you would imagine, has issues that
22 Q I will. We'll do some teamwork here.                       22 come before the state legislature periodically. For all
23    Before you were appointed the Executive Director,         23 the years that I've been there, and for a number of years
24 were you working with CALS or did you come from --           24 I assume before I got there, the library engaged someone
25 A I was not. I came from private practice.                   25 to keep up with legislative activities that might pertain


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 1 Q Okay. And how long were you in private practice?            1   to the funding or the issues that are core issues for the
 2 A I have a Arkansas license that was issued in 1985. I        2   public library that has to do with freedom of speech and
 3 was clerking for a federal judge from '85 until '87, so       3   other such issues.
 4 from 1987 until 2016.                                         4       So the library has engaged people through the years
 5 Q Okay. And in private practice, what did your                5   to monitor and report on what is being done in the
 6 practice center on; what areas?                               6   legislature, what bills are filed that might have an
 7 A I was what I called a courthouse lawyer. I did              7   implication on the library, so I would say the answer to
 8 litigation on both sides of lawsuits. Initially, in my        8   that is, yes, the library -- lobbying, I don't think
 9 career, I was working for an insurance defense firm. I        9   that's true.
10 did a lot of casualty defense. I left there and became       10       You know, from time to time, obviously there are
11 essentially a plaintiff's lawyer. Later in my career I'd     11   hundreds, thousands of bills filed during legislation
12 take on cases as a defendant's lawyer, not for insurance     12   session. A handful of those might have some implication
13 companies, but on cases that involved commercial disputes,   13   for library funding. For example, there are issues that
14 I would be a defendant in some of those cases.               14   relate to the collection of sales tax on databases, the
15 Q Okay.                                                      15   collection of sales taxes on vendor-provided supplies.
16 A I would be a defense counsel in those cases.               16   That's sometimes an issue around which legislators and
17 Q Got it. So if you would, explain to me how you went        17   committees ponder and decide to do something different
18 from private practice to the Executive Director. Were you    18   that would affect the revenue stream or the bottom line of
19 involved with the library as just, you know, a patron or     19   the -- the financial bottom line of the library, so we
20 what's that history there?                                   20   would be wanting to be aware of that, but the library does
21 A Yes. I've had a library card for longer than I can         21   not enter some legislative halls with an agenda every
22 remember. I was on the Library Board of the Central          22   session.
23 Arkansas Library System from approximately 2003 until        23       Just for contrast, I was a member of the Arkansas
24 2009, and had, obviously, an interest in reading all my      24   Bar, still a member of the Arkansas Bar Association. They
25 life, and interest in topics that relate to libraries.       25   had a regular lobbyist who had a committee he reported to


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 1 for that association. They had a package of bills in          1 library that I represent and that I work for.
 2 every session that they would advocate for that were          2 Q Got it. I want to ask you a little bit about
 3 things that their members were interested in. The library     3 litigation history with CALS. Are you aware of any prior
 4 has never done anything remotely approaching that.            4 cases that CALS has been a plaintiff in?
 5 Q Did the library engage in any sort of lobbying about        5 A During the period of time that I've been there, there
 6 Act 372 that's the subject of this lawsuit?                   6 has been no litigation, either as a plaintiff or as a
 7 A I'm not sure, again, what you call lobbying. We had         7 defendant, according to my recollection, and I asked
 8 impact management engaged, as we've had for a number of       8 several people on my staff last week if they had any
 9 years. People who work for that organization were out         9 recollection to the contrary. They did not.
10 there reporting to us on the activities of the legislature   10     So this is the first lawsuit that CALS has filed
11 regarding SB 81.                                             11 since I've been at the library, and it's also the first
12     I appeared in the house judiciary committee, when        12 lawsuit that CALS has been a party in since I've been
13 that bill was being considered, to give my assessment of     13 there, that was initiated since I was there.
14 what I thought the bill was, the implications of the bill    14     The library had a couple of pending matters, I
15 for the libraries in the State of Arkansas.                  15 believe when I arrived, that had been initiated prior to
16     So to the extent that constitutes lobbying, we were      16 my arrival, and in those cases the library was a defendant
17 there, we had a definite viewpoint about that bill and       17 and those cases were resolved, as I recall, about the time
18 what it would do for libraries and that's obviously why      18 I got there or shortly thereafter.
19 we're here today.                                            19 Q Okay. Do you recall what those cases were about?
20 Q Fair enough. And we'll get into that in a little           20 A I do vaguely. You know, they predated my tenure, so
21 bit, so that we don't have to focus specifically on that.    21 I was not intimately involved in them. I do think I
22     Are there any other bills that you recall, where         22 recall signing off on the resolution that was advised by
23 you've gone and testified, even it it's just one-offs?       23 the counsel. One of them involved an ADA-compliance
24 A Yes, there was an ongoing effort in the general            24 issue, I believe, at Terry Library. The other one
25 assembly that probably predated my tenure, when the          25 involved regulations with regard to service animals and


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 1 legislature was attempting -- or people in the legislature    1 whether a patron could bring an animal into the main
 2 were attempting to restrict the number of special             2 library.
 3 elections that municipalities and other organizations,        3 Q And in both of those CALS was a defendant --
 4 including libraries, might hold, and I think I may have       4 A Yes. And I believe those are the only lawsuits that
 5 showed up in the house committee once to testify about        5 were ongoing when I arrived.
 6 that.                                                         6 Q Okay. Before your tenure, was CALS involved in any
 7     We took the position that we were opposed to that.        7 lawsuits?
 8 At least I was opposed to it, and I believe the               8 A There was some other lawsuits that I was aware of
 9 organization was on record being opposed to it because the    9 when I was on the board or just as a patron in the
10 library has, for years, relied on elections, both general    10 community. There was a lawsuit circa 2005 or '6,
11 and special elections, and we thought that was going to      11 somewhere in there, that concerned -- the voters in the
12 hamper the ability of the library to get issues in front     12 jurisdiction had approved a capital millage. I think it
13 of the community regarding funding the library.              13 was an extension of some bonds, renewing the bonds, and
14 Q And you said you testified, and I think CALS has sort      14 the authority given by the taxpayers to fund the debt
15 of a similar position. So did you testify on your own        15 service.
16 behalf or was this when you were on the board and you were   16    The city clerk and the tax authorities interpreted
17 testifying --                                                17 that ordinance that resulted from the voter referendum in
18 A I think I was out there at least once as the               18 a way that allowed the collection by the county of the tax
19 director.                                                    19 due under that referendum and the ordinance that followed
20 Q Okay.                                                      20 in a period of time that litigants who challenged it said
21 A But I don't remember the specifics.                        21 was premature. So the question was did the library,
22 Q That's fair enough.                                        22 through the taxing authorities, Pulaski County Tax
23 A I'm certainly making the board aware that I was doing      23 Collector, start collecting the tax too soon.
24 it, and the board was in agreement with our contention       24    As I recall I think was on the board at the time and
25 that that bill was harmful to the future of the public       25 the library prevailed at the trial court level, but that


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 1 was overturned at the Arkansas Supreme Court and there was    1 unconstitutional with respect to Sections 1 and 5.
 2 a period of time where the court ordered that the money       2    In essence, we needed some help, some guidance and
 3 that had been collected too early, in effect, had to be       3 determination before we -- before the Act would into
 4 refunded or offered to taxpayers and that year that was       4 effect on August 1st of last year. Without judicial
 5 jumped the gun was put onto the backside, so that the         5 declaration or judicial guidance, we were going to be in a
 6 amount of money that was going to be collected over the       6 situation where our lawyers and I were going to have a
 7 same period of time was not disturbed, but the period of      7 difficult time telling our employees, particularly the
 8 time for collecting it was.                                   8 ones who worked in the libraries and the ones who collect
 9     So that's what I recall and that would have been in       9 the materials, that it was to safe to proceed and continue
10 the early 2000s, as I recall. Again, I was on the board      10 to do the job that they've been doing.
11 from 2003 to 2009.                                           11 Q Okay. You mentioned reaction from the community.
12 Q And so CALS would have been a defendant there as           12 Could you speak a little bit more about that?
13 well?                                                        13 A Generally people who kept apprised of the debate over
14 A I believe so. I think CALS was a defendant. They           14 SB 81 and the people I heard from, obviously this is not a
15 certainly had an interest in it because they were -- the     15 scientific survey, but the people I heard from were quite
16 taxing authority was collecting the money for the benefit    16 distressed that this was indicated to them, that there was
17 of the library under the state's constitution amendments     17 an effort from the legislature to restrict what people
18 that allow property taxes for capital improvements.          18 could read in the public library, to restrict what other
19 Q And just so we're on the same page, I'm asking this        19 people could read in the library and people don't like
20 as -- you as a representative of CALS. Are you aware of      20 that.
21 any case in which CALS was a plaintiff, other than this      21 Q Sure. That's fair enough. Could you give a ballpark
22 one?                                                         22 on the number of community members you heard from?
23 A I saw that was your first item under the notice of         23 A Oh, you know, Arkansas is a small town.
24 deposition, CALS' litigation history, which prompted me,     24 Q Yeah.
25 over the last several days, to ponder that and I cannot      25 A I see a lot of people. I go to church, I go to


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 1 recall any.                                                   1 Kroger, I go to places where I might not want to talk
 2 Q Okay. Thank you. Now, I'm going to move a little            2 about things I'm doing at work, but I don't really have
 3 bit more into this case and today, instead of the past.       3 that option.
 4 So what is your understanding of this case?                   4    When I was a little younger and I'd stay up later,
 5 A Well, our understanding of the case is best reflected       5 I'd grocery shop at night, late at night, but often times,
 6 in the Complaint we filed on June 2nd of last year. The       6 in the coming and going of living in a small town, people
 7 case is complicated, as you know, and there are a lot of      7 will come up to you and say, yes, we don't like this
 8 things that -- can you be more precise as to what you         8 legislation, we read about it here or there, we've heard
 9 would like for me to tell you about the case?                 9 about it, please continue to try to represent the people
10 Q Sure. What is your understanding of what you're            10 who care about the freedom to read and access to different
11 challenging; what laws and --                                11 viewpoints.
12 A We're actually challenging Act 372, which, as we've        12    So I heard that often. I can't put a number on it.
13 said in the Complaint, we believe to be unconstitutional     13 There were some people who wrote me. And obviously there
14 on a number of grounds, both with respect to Section 1 and   14 were some people who wrote me on the other side, a
15 Section 5, that those are unconstitutional provisions.       15 handful, who said, oh, you know, you should adhere to this
16 Q Okay. And why -- so other than just thinking that          16 legislation because these people are trying to protect
17 those are unconstitutional, why has CALS decided to bring    17 children from books that we think are harmful.
18 this case?                                                   18 Q Would you say it was a -- the distribution between
19 A Because we sought counsel and were spending weeks,         19 those two -- I'll just call them sides of the issue --
20 months, reviewing what the implications of this statute      20 were approximately even or did one substantially outweigh
21 might be for our staff, for our patrons, and upon the        21 the other?
22 advice of counsel and based on the reaction from the         22 A One substantially outweighed the other, but I don't
23 community, we believed that it was necessary to get a        23 purport that that was some sort of scientific survey or
24 judicial determination as to whether we and our lawyers      24 polling survey.
25 were correct; that is to say that this law is                25 Q Sure.


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 1 A Obviously once I had been identified, through                 1 point here, as you're aware now from having briefed it and
 2 statements that we may have published, posted on our            2 argued it, the case of Shipley. So it was not hard to
 3 website and through my testimony that was reported in the       3 find people who would talk to me about this subject and
 4 newspaper and local television stations, you would just         4 envision what might have to be done if I turned out to be
 5 assume that the people who agreed with that were more           5 correct and it was going to have to be a litigation
 6 likely to tell me and affirm to me.                             6 strategy.
 7    But I respected the people who also told me on the           7 Q And who are the Defendants in this case? You don't
 8 other side, but the ratio of the people who were in the         8 have to name all of them, obviously. There's a long list.
 9 former category, those who encouraged and supported what I      9 A The prosecuting attorneys around the state in the
10 was doing far outweighed those who were bothered by it and     10 various -- the judicial districts, and Crawford County
11 spoke -- those who were bothered by it and let me know         11 officials, and I believe that's it.
12 they were bothered by it.                                      12 Q So why specifically, if you're aware, is Crawford
13 Q And this is a side, so it can be off the record.             13 County a Defendant in this case out of the 75 counties in
14 Actually, let's go off the record.                             14 Arkansas?
15         (Off-the-record discussion.)                           15 A Well, I -- I am aware, generally, but not nearly as
16 BY MR. WATSON:                                                 16 thoroughly aware of the intricacies and the aspects of
17 Q Okay. We're back on the record. I want to ask you            17 that case as counsel for the Plaintiffs would be. My
18 quickly about some of the parties who are in this case and     18 general impression, and, again, I'm not the lawyer in the
19 how they became part of this case. How did this                19 case; I'm the client and the lawyers would have a far
20 collection of Plaintiffs, to your understanding, come          20 better understanding of this.
21 together?                                                      21 Q Sure.
22 A Well, as I've indicated, and you are well aware,             22 A My general impression is that Crawford County had
23 there was a lot of public attention to SB 81 and               23 essentially engaged in the kind of activity that Act 372,
24 particularly after it was enacted a year ago.                  24 we believe, was designed to facilitate, and they had been
25    People who are in this space, and that is to say the        25 doing that, as had arguably, I guess, some other libraries


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 1   librarians, booksellers, content and providers, authors,      1 that I was aware of just from reading the popular press at
 2   obviously keep up with this regularly. It's their job;        2 the time.
 3   it's something that is keenly interesting to them, or of      3     So that's my understanding, that -- as a layperson,
 4   interest to them.                                             4 not a lawyer, and as a citizen, that it was clear what
 5       And as I had concluded after seeing the amendment to      5 people who wanted this legislation adopted wanted to do
 6   the bill that was refiled some time, I think, in January      6 with it, and Crawford County is one iteration of that that
 7   or February, and given what I knew about the composition      7 was already well underway by the time the law formally
 8   of the general assembly, I began to realize that if they      8 signed and enacted.
 9   proceeded along the path that they seemed bent on taking,     9 Q And you mentioned that you're aware of other
10   this was going to wind up in a judicial forum somewhere      10 libraries. Could you tell me what --
11   because it was clear to me, in my opinion as a librarian     11 A Well, there was a lot of attention to our neighbors
12   and as a lawyer, that this had severe constitutional         12 in Saline County. That was drawing a lot of public
13   infirmities.                                                 13 attention in the timeframe that we were simultaneously
14       Obviously I'm talking to people who -- around the        14 deciding, after we lost the elective effort to prevail or
15   country who are calling and asking, and I'm looking for      15 persuade the legislature that this was a bad deal. That
16   people who have similar insight to tell me what they         16 was ongoing.
17   think. That included a number of library leaders around      17     I recall, at one point, the primary sponsor of SB 81
18   the country, it included lawyers around the country.         18 showed up in the audience at one of the high-profile
19       As we've indicated, I am a lawyer, so obviously I        19 hearings in Saline County, where they were determining
20   have an inordinate number of friends who are attorneys and   20 what to do about books that were offensive to some vocal
21   care about some of the things that I might. So we began      21 group in that county.
22   conversations. We, being that universe of people I           22 Q Other than Saline County, are there any other library
23   described, and began looking at the cases that had been      23 systems you're aware of?
24   issued.                                                      24 A I assume your question is am I aware of other
25      In fact, there was a case that seemed pretty close on     25 counties where this kind of activity was going on?


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 1 Q Yes.                                                        1 Jacksonville, Little Rock, Perry County and Pulaski
 2 A Not offhand at the moment, although I would hear            2 County.
 3 things to suggest that this was going to happen or about      3    So, essentially, the three organizations or three
 4 to happen, and I think one of the obvious places where we     4 entities, Perry, Pulaski County and Little Rock Library
 5 learned that, or it affirmed what we had been reasonably      5 added Maumelle, Sherwood, Jacksonville to the system under
 6 suspicious of or suspecting, was the memo that came from      6 a fairly complicated statutory framework that had to be --
 7 the state library director one day saying, you know, this     7 an ordinance had to be approved by the municipalities of
 8 has been enacted, and here's what the consequences are,       8 those cities and by the counties for those two counties,
 9 and there are going to be a lot of challenges under Act       9 Pulaski and Perry, to join the system, and that,
10 372, Section 5, here's the things you need to think about    10 essentially, has been the configuration since
11 as you proceed with trying to set up your rules and your     11 approximately 1999.
12 processes for dealing with that.                             12 Q So it was created completely by government entities?
13    So, although I can't tell you other specific places,      13 A Yes, by municipalities, by cities to create a
14 my firm belief, then and now, was that there were a lot of   14 separate organization to conduct library business. We
15 people toeing up to the starting line who were eager to      15 don't get our funding directly from any of those public
16 act upon what they thought the legislature had enabled in    16 entities, and there were a number of places, over the
17 Act 372.                                                     17 course of my tenure there, where distinctions between
18 Q Sure. And quickly on that, it -- so you are not            18 those municipalities and county subdivisions of state
19 aware of anyone who has threatened to, you know, use Act     19 government, have clearly been illustrated, and, you know,
20 372, specifically, as a sword against the libraries?         20 we're not a subdivision of state government, we're not a
21    That was not worded well. Let me just -- I try to go      21 subdivision of any of those municipalities.
22 out of order here, so I'll get to that question later when   22    We essentially, under the statute, have the authority
23 we get to a different section.                               23 to run the library that those entities had. In some
24 A Sure.                                                      24 instances the communities deeded their real estate to the
25 Q So just forget that.                                       25 organization that runs the library. In two instances they


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 1    All right. Now, I want to talk a little bit about          1 did not.
 2 CALS and its history, just generally. Could you walk me       2    So it's a hybrid. I think it's called an interlocal
 3 through the creation and history of CALS?                     3 government agreement that essentially creates the
 4 A Yes, the Central Arkansas Library System, as it's           4 operating rules for the library, but we are not a
 5 currently configured, is that what you're asking about?       5 subdivision of any of those municipal or county entities.
 6 Q Well, as it was originally configured, if there's a         6 Q Okay. And I didn't print this off. I should have,
 7 difference too.                                               7 but Paragraph 14 of the Complaint says that CALS is a,
 8 A Well, the original configuration, I guess, would be         8 quote, "body politic."
 9 the ancestor of CALS would be the Little Rock Public          9    How are you defining that, or what is your
10 Library, which was a Carnegie Library funded --              10 understanding --
11 established in 1910.                                         11 A I think the language is a body politic and corporate.
12    For a number of years the Little Rock Library and         12 Q Right.
13 then later, the Pulaski County Library were a part of a      13 A It comes right out of the statute that creates the
14 two-library system, if you will, and then at some point,     14 opportunity for entities to form these kinds of
15 fairly long ago, probably about the time I was born, which   15 organizations that I've described.
16 was very long ago, the Perry County Library also joined      16 Q So does CALS consider itself a government body of
17 that.                                                        17 sorts?
18    So as I understand it, there was essentially the          18 A No.
19 Little Rock Library, the Pulaski County Library, and the     19 Q No?
20 Perry County Library, and that's essentially the             20 A We obviously are funded by government sources, namely
21 configuration until 1999, at which time, through             21 the taxing authority of the county that I described
22 legislation that had been passed for a lot of other          22 earlier. We get government funds, therefore, we are
23 reasons -- it had nothing to do specifically with this       23 subject to open records, open meetings laws. We do things
24 library system -- the library system was created             24 in accordance with those fastidiously, but we are not a
25 consisting of the libraries in Maumelle, Sherwood,           25 governmental entity in the sense that the City of Little


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 1 Rock is.                                                      1 comes up and is speaking, and then, you know, starts
 2 Q Okay. And you say in a sense that the City of Little        2 talking about some viewpoint that --
 3 Rock is. I mean, obviously CALS is not a city. Is there       3 A Right.
 4 any other, you know, comparison in the state government       4 Q -- that CALS made and the library may disagree with
 5 you can think of, because it is a little strange to be        5 and say, all right, you're out of here, you don't get to
 6 able to have taxing powers and say, but we're not a           6 speak anymore. I think that would be, pretty clearly, a
 7 government entity?                                            7 viewpoint-based discrimination?
 8 A We don't have the taxing power.                             8 A Yes. Yes.
 9 Q Okay.                                                       9 Q Is CALS allowed to do that based on the viewpoint?
10 A The taxing power rests in the hands of the county.         10 A Well, the public library has been held to be a
11 Q Sure.                                                      11 limited public forum in scores and scores of cases, so we
12 A And under constitutional amendment, that tax revenue       12 believe that under that doctrine, if we allow certain
13 under that authority is collected by the collector,          13 things, certain speakers, we can't pick and choose based
14 assessed and collected by the -- well, I guess it's          14 on content.
15 assessed by the treasurer, collected by the treasurer.       15     So, yes, in that instance that you just described,
16     But -- but we, by a matter of constitutional             16 and subject to that doctrine of limited public forum --
17 provision, get that money, but we can't collect that tax,    17 the library can decide, for example, that we're not going
18 we can't enforce that. If you don't pay your property        18 to allow people to post things on our bulletin board, for
19 taxes, we don't have the authority to put a lien on your     19 whatever reason.
20 property. The county does that. We are the beneficiary       20 Q Right.
21 of that constitutionally-provided arrangement, but we're     21 A But if we allow some people to post things on our
22 not a taxing authority.                                      22 bulletin board, then everybody can. For example, you
23 Q So you don't consider yourself subject to things like      23 could probably go out to the Perry County Library in some
24 First Amendments?                                            24 interval and find that people have posted things for the
25 A Well, I think as any kind of entity, whether we are a      25 Republican Party Committee of Perry County or a variety of


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 1 government entity or not, we believe that our patrons are     1 other things like that.
 2 protected by the First Amendment. We believe that the         2     The library has rules about how long you can have
 3 people who expect the library to contain material they        3 that up and a forum of what you can put up, but the
 4 want, and have a right, we think under constitutional law     4 library doesn't police the content of that. So I guess in
 5 to have access to that, we are protected by the First         5 your hypothetical, yes, the library would be prevented
 6 Amendment, the patrons and the organization that serves       6 from exercising some sort of content-based, even as a
 7 them.                                                         7 limited public forum would be prevented from doing
 8 Q Okay. But is CALS, itself, bound by the First               8 something of that sort.
 9 Amendment?                                                    9 Q And the reason I'm trying to tease this out a little
10 A Well, I'm not aware of how we would be in the              10 bit, so thank you for kind of going into this hypothetical
11 position, if I'm right, that we're not a governmental        11 with me, is -- and because the First Amendment only
12 entity, that we would be in the position of somehow being    12 applies to government action, it does not apply to private
13 able to enforce or impose a governmental restriction of      13 action, and my understanding earlier is you said the
14 the sort that the First Amendment precludes.                 14 lib -- that CALS was not a public entity or a part of --
15 Q So it's no?                                                15 A It is not a government entity.
16 A Maybe you can help me out.                                 16 Q Okay.
17 Q Sure.                                                      17 A It is a -- it is a -- it is governed by certain
18 A That the library could engage in unconstitutional          18 public rules and regulations because it uses public money,
19 acts of the First Amendment, so that we would be prevented   19 but it's not a government entity in the sense that the
20 from doing that? I mean, give me a -- help me with some      20 City of Little Rock is, the State of Arkansas is, the
21 illustration of how that might come into play.               21 Department of Education, for example, of the Executive
22 Q Sure. Just generally speaking, does CALS have              22 Branch of the Arkansas State Government, et cetera.
23 speaking events, where speakers come and present topics?     23 Q Okay. And so -- I mean, the only reason that you're
24 A Yes.                                                       24 saying that it would be, you know, bound by the First
25 Q So let's take, for example, one of those speakers          25 Amendment, is because it collects some real estate tax


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 1 revenue? Or not even collect. It's given that, I think        1 comply with the laws that govern public records, public
 2 is what you said earlier, by the county government.           2 meetings. I have an obligation in the kind of ways that I
 3 A Well, I think what I've said is that under doctrine         3 think all public servants do, to be fiscally responsible
 4 it says a public library is not quite a town square, but      4 and good stewards of the public money. It's not my money;
 5 it is a limited public forum, then we have to follow that     5 it's the taxpayers' money and I have to spend it
 6 interpretation application of the First Amendment to say      6 accordingly.
 7 that I can't go out to the library and take down -- let's     7     So in that sense, yes, we are acting on behalf of the
 8 say my hypothetical, the Democratic Party of Perry            8 community to collect books and other items that the
 9 County's Committee notices and leave out the Republican       9 community has a right to see, read, peruse, review, and we
10 Party's notices.                                             10 are serving in that collective role with government money
11 Q Okay.                                                      11 in a way that, you know, some people might think of as a
12 A So in that sense we are bound by the First Amendment,      12 government adjacent activity.
13 you're correct, but we are not an arm of the government in   13 Q Okay. I'll move on from that line with -- well, I
14 the way that the Department of Education is in the State     14 say move on, but it is the next point in my outline, it's
15 of Arkansas.                                                 15 somewhat related.
16 Q And as you know we have to be precise as lawyers on        16     So we did get an organizational chart. I won't put
17 this side, and so I feel -- and I'm not trying to nitpick.   17 that into the record here. Well, I might as well put it
18 You said in the way. I mean, is there a different way in     18 into the record here, so we're all operating from the same
19 which --                                                     19 thing.
20 A Well, I think I -- I mean, obviously I've read the         20 A It would help me.
21 briefs, I've read the opinion.                               21 Q Yes. That's unfair, you don't need to have to
22 Q Sure.                                                      22 memorize all of this.
23 A I've read -- I was at the oral argument. I mean, I         23 A Thank you.
24 understand you would like to say that my library is          24 Q All right. I'll mark this as Exhibit 1.
25 engaged in government speech and we don't, as our lawyers    25   (Exhibit No. 1 was marked & attached hereto.)

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 1 have made clear, and I think at this point the court has      1    Sorry it is small. That is how it came through.
 2 made clear, we don't think that's the role of the library.    2 A I don't think that's your fault.
 3     We're not putting out books as some sort of director      3            MR. ADAMS: Just by way of a heads-up, I
 4 from the State of Arkansas, or from the City of Little        4        may need to take a short break in a little
 5 Rock or Pulaski County or Perry County. That's not the        5        while.
 6 public library as an institution of, you know, 175 years      6            MR. WATSON: Do we want to take one now?
 7 in the United States. It's publicly funded, but it's not      7            MR. ADAMS: No.
 8 engaged in government speech.                                 8 BY MR. WATSON:
 9     It's not -- you know, if that were the case,              9 Q The only thing I wanted to ask you about,
10 hypothetically, the people who have advanced this bill       10 Mr. Coulter, is the top box here, CALS' Board of Trustees.
11 should just give us a list, every biannual legislative       11 First of all, it has you as the Executive Director. I was
12 session, of books that would be appropriate for the          12 going through the Articles of Incorporation and it
13 publicly-funded library to collect and no others and then,   13 mentioned president, vice president, secretary, treasurer
14 you know -- that's the logical extension of your argument.   14 of CALS, but I don't see them on this chart. Where would
15 Q Sure. But I'm asking a question that I think it's a        15 they fit?
16 step before --                                               16 A Those are the officers of the board, so they would be
17 A All right.                                                 17 the leadership of the -- the executive leadership, I
18 Q -- the government speech part.                             18 guess, of the Board of Trustees, so they would be subsumed
19     You said that CALS and the public libraries are not a    19 in that first box.
20 government entity in the same way, or in the same manner     20 Q Okay. And then how does a person become a member on
21 as, you know, city, county governments.                      21 the board?
22     Is there another way in which they are connected?        22 A In that agreement that I described earlier that the
23 A If you said, Nate, are you a government employee, I        23 various municipalities and counties had to adopt by
24 mean, I work for an entity that's publicly funded, so in     24 ordinance and they each explicitly adopted the ordinance
25 that sense I have an obligation to transparency and to       25 in toto, it sets out the 13 board members and the


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 1 organization -- the entities that appoint those 13            1 terms of the agreement that the communities forged, kept
 2 members.                                                      2 their actual buildings. The Cities of Jacksonville,
 3 Q Okay. So the participating, you know, cities and            3 Sherwood own those. The system provides the books and the
 4 counties, they're the ones who appoint?                       4 employees to operate a public library out of the
 5 A Yes.                                                        5 Jacksonville, Sherwood libraries.
 6 Q All right. That's the only question I had about             6    Little Rock, Maumelle, Perry County, they all deeded
 7 that, so we can set that aside. Next, I want to move to       7 their assets, real property, so we have an agreement where
 8 some of this funding issue that we've already discussed.      8 they reimburse us for certain expenses in upkeep of their
 9 I'll mark this as Exhibit No. 2.                              9 buildings, their libraries in Jacksonville and Sherwood.
10 (Exhibit No. 2 was marked and attached hereto.)              10 That might be what that is, although it looks like at the
11             MR. ADAMS: This may take a minute, so do         11 tail end of that those numbers are different.
12         you mind if I --                                     12     And, again, the auditors shift these categories
13             MR. WATSON: Yeah. Let's go ahead and jump        13 around, but I can find out, if you want to know precisely
14         off the record for a second.                         14 what's in that.
15           (Brief recess was taken.)                          15     In the earlier years, as you can obviously see, it
16 BY MR. WATSON:                                               16 was a larger number than it is, which suggests to me that
17 Q Mr. Coulter, before we took a break, I handed you          17 the auditors re-categorized or reclassified that and moved
18 what is now labeled as Exhibit 2 and it is a document        18 that somewhere else, so that if we looked, there might be
19 about some income sources of CALS that was produced in       19 a corresponding increase in one of these other categories.
20 discovery by your attorney. I just had a few questions       20 Q Okay. And it probably doesn't matter, but if it is
21 about this. I know we've already discussed funding a         21 not what you just said, more or less, I would be -- like
22 little bit, but there's a few things I had here that I       22 to know.
23 wanted to follow up on.                                      23 A Yeah, I'll get that.
24      So this is 2012 through 2022. There's no 2023. Do       24 Q And then, also, just so the record is clear, the very
25 you know why that would be?                                  25 top line, tax collections, are these the property taxes --


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 1 A No, other than the fact that it's -- you know, we're,       1 A Yes.
 2 I guess, as of today in the first day of the second           2 Q Okay. That is the only two questions I had about
 3 quarter. Those numbers for all of those entities might        3 that one. Are there any other sources of funding that are
 4 not be available through the source that this was             4 not listed here?
 5 generated.                                                    5 A No.
 6     I think this came off of our audits, which is why it      6 Q Okay.
 7 has some things on there, for example, Intergovernmental      7            MR. ADAMS: Just so we have a clean record,
 8 City of Little Rock Bonds. That is, as I understand it,       8        like what do you, I guess --
 9 something the audit carries on the finances in the form of    9            MR. WATSON: The miscellaneous inc, the
10 funds that are coming from capital improvement bonds to      10        second from the bottom, I wasn't sure what that
11 acquire or improve, build things that are used by the        11        was, especially because of kind of the
12 library system. That money never comes into our coffers,     12        fluctuating numbers, it just seemed strange. If
13 but it's money that's benefited the library.                 13        his explanation is close enough, don't worry.
14     So my answer would be I believe this is the latest       14            MR. ADAMS: Okay. We can -- I'm happy to
15 year from which we have an audit, and that's what this was   15        look at the underlying audits with you and you
16 generated from.                                              16        and I can try to make sense of it.
17 Q Okay. And I also think most of these categories are        17            MR. WATSON: It's going to -- let's go off
18 pretty self-explanatory. I do want to ask about what is      18        the record.
19 the second from the bottom, so miscellaneous, inc.? What     19          (Off-the-record discussion.)
20 is that?                                                     20 BY MR. WATSON:
21 A Yeah, that would be sources -- in some instances we        21 Q Just a couple of questions about expenditures. Does
22 get rent off of some small spaces we have on our main        22 CALS have a budgeted legal expense every year?
23 campus. I believe it may also come from -- although, the     23 A Yes.
24 number doesn't look like they're -- as I indicated           24 Q What is the number on that, approximately?
25 earlier, the Jacksonville, Sherwood libraries, under the     25 A Approximately 75 to $175,000.00.


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 1 Q Okay. And when we were talking earlier about                1 interests"?
 2 litigation that CALS has been involved in, it was a pretty    2 Q The phrase, "community interest," is used there.
 3 limited number. So what are those expenses going to?          3 What does that mean?
 4 A Well, I think one of the reasons why I can tell you         4 A I think that means if there is an interest in the
 5 that we're not involved in lawsuits, is because we hire       5 community in reading or having, in the collection, certain
 6 lawyers to give us advice and make choices that prevent,      6 material, because there's been an expressed interest in
 7 eliminate -- you know, we're spending money on lawyers        7 having that available. That's what that refers to.
 8 prophylactically, rather than paying lawyers like John and    8     Obviously, there are a number of subcommunities
 9 Bettina to litigate.                                          9 within our service area who have different interests in
10 Q Fair enough.                                               10 books about fauna or butterflies or doll collections, et
11 A But, obviously, we have --                                 11 cetera.
12            MS. BROWNSTEIN: I'm not getting paid, for         12 Q Okay. So the last bullet point there, and I'll read
13         the record.                                          13 it. It says: "CALS' staff is encouraged to recommend
14 A -- we have 300 and some odd employees. We have             14 titles and subjects to be purchased for their branches
15 compliance issues with all sorts of employment               15 based on the knowledge of their patrons' needs and
16 regulations, so we are regularly communicating with the      16 interests."
17 employment counsel. We have certain obligations for our      17     Is there a difference between that criteria and the
18 pension plan that we have to talk to lawyers about           18 first one we just read or are those sort of saying the
19 regularly. Obviously we're obligated under workers'          19 same thing?
20 compensation and from time to time we have employees who     20 A Well, they are overlapping. I think with regard to
21 have accidents and all sorts of things that organizations    21 the first bullet point, it's probably more of an
22 the size of ours would encounter that have implications      22 indication of the people for whom, if you pull out the
23 that prudent management seeks counsel for.                   23 Exhibit 1, who are tasked with the responsibility for
24 Q Okay. And does CALS have an in-house counsel?              24 essentially collecting the materials, those people.
25 A No.                                                        25 That's -- that's their sole job, is to keep one -- and you


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 1 Q Now, I want to transition into some of CALS'                1   can see the other bullet points indicate that they are to
 2 policies. So I'm marking this as Exhibit No. 3.               2   look at reputable review sources, such as Booklist,
 3   (Exhibit No. 3 was marked & attached hereto.)               3   Library Journal, Publisher's Weekly, New York Times Book
 4     So, Mr. Coulter, what document have I just handed         4   Review, et cetera. They do that and there's their --
 5 you?                                                          5   that's their job by genre or category.
 6 A This is the Board's Policy No. 300, which sets forth        6       I think the bullet point is to say, as a matter of
 7 the criteria for how the library collects materials.          7   policy, that the staff who are in the public-facing
 8 Q Okay. And having policies about the selection of            8   positions, as opposed to those people who are in the
 9 library materials, is that a common practice among            9   collection development department, tell us what it is you
10 libraries?                                                   10   hear in your neighborhood library that people want.
11 A Yes.                                                       11       We are ultimately consumer driven, in terms of what
12 Q Are you aware of any libraries in Arkansas who don't       12   we put in the collection and if the community is
13 have such a practice or such a policy?                       13   indicating that certain books we have are, in essence,
14 A No.                                                        14   oversubscribed and we measure that by how long the hold
15 Q I just have a couple of questions specifically about       15   list is, how long the hold wait time is, we obviously want
16 this. So on the second page, CALS' 2, the first bullet       16   to have a low ratio of numbers of people in line for an
17 point under selection of criteria -- I'll give you a         17   item that we have.
18 moment to read that, if you'd like.                          18       Industry standards are considered good if you're five
19 A You're looking at: "Selectors respond to community         19   to one, seven to one. People waiting for a particular
20 interests by careful consideration of patron requests for    20   title might have 20 copies of it behind each copy, and we
21 purchases --                                                 21   really have been aspiring to be below that. Three to one,
22 Q Yes, sir.                                                  22   four to one, below five to one, so that's what we're
23 A -- use patterns for existing materials, purchase           23   looking at, both in terms of the collection development
24 trends of similar materials by peer libraries, and any       24   people and this -- just the people who are on the outward
25 other source of information indicating community             25   facing part of the library can say there are a lot of


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 1 people in here who keep asking for the Michael Patterson      1 A These are set by the board.
 2 novels.                                                       2 Q And what does that process look like, as they're
 3 Q So you mentioned this on the second bullet point and        3 setting them?
 4 it says, "Evaluation in reputable review sources such as,"    4 A Well, if you go back to the top of the first page,
 5 and then it lists several of those, as well as various        5 you'll see that there's sort of a history of when the
 6 websites and blogs. Do you see that one?                      6 board had approved these. I guess the earliest date there
 7 A Yes.                                                        7 might be 1991, and going back to my chronology of the
 8 Q What is the purpose of reviewing those sources?             8 composition of the system, that was obviously before the
 9 A Well, one of the purposes is so you can be ahead of         9 system was put together in its current configuration, so
10 that consumer demand that I just described. Those            10 that would have been probably the Little Rock Library,
11 industry publications that are identified there tell you,    11 Pulaski County Library and the Perry County Library.
12 as the collection development professional, what's going     12     So in some ways it is a archival item that comes down
13 to be published, by the publishing world, three, six, nine   13 to new boards. Our board members serve up to two to
14 months from now and you've got to get in line to order       14 three-year terms, so obviously nobody is on the board now
15 those books. You have to make some estimate about how        15 who was on the board then. So these are essentially
16 popular they're going to be and you want to look at the      16 long-ago adopted values that expressed the library's
17 other reviews, the sources that are there.                   17 objectives in trying to provide a diverse collection for
18     Obviously these people like what they do and they        18 the community as a whole, and to respond to consumer
19 have some interest in these materials and don't mind         19 interests in light of certain resource limitations that
20 reading through these all day, most days, trying to figure   20 are identified in here.
21 out what's coming, let's get in line to order those books    21 Q And while we're on this first page with the dates,
22 from our suppliers, so that we have those books as soon as   22 you know, the latest revision date was in late August of
23 the publisher publishes them or the authors are on book      23 2023?
24 tours talking about them. We want them to be available to    24 A Yes.
25 people who can't afford to go to our friends at Wordsworth   25 Q Are you aware of what those revisions entailed?


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 1 up the hill and buy a new copy or order one on Amazon.        1 A Yes, generally we had anticipated, in the summer
 2 Q Okay. We've talked in detail, you know, about a             2 months, that Act 372 might go into effect on August 1st,
 3 couple of these. I think we've hit all of them. Well,         3 so we took a look at this policy. I think Board Policy
 4 there are a couple of them on the next page, too, if you      4 301, which deals with the request for reconsideration that
 5 want to go ahead and take a moment to look at those and       5 I think has been produced, and I'm just looking to see,
 6 let me know when you're finished.                             6 off the top of my head, if I can remember what might have
 7 A Okay.                                                       7 been changed on that date. It would be reflected in the
 8 Q Are you aware of -- and, obviously, there will be           8 minutes from that meeting.
 9 some difficulty being aware of this, because I know CALS'     9     I don't think it was anything substantial, but it
10 collection is quite large, but are you aware, as we sit      10 would have been clearly -- in my recollection, it would
11 here, of any materials in CALS' collection that do not --    11 have been clearly in response to the legislature's focus
12 you know, that would fall outside the bounds of this         12 that resulted in the Act and our attempt to be responsive
13 selection criteria, that would not have -- that somehow      13 to that and be prepared to implement the changes that we
14 ended up in the collection?                                  14 thought we could predict or see.
15 A No. Of course someone would have to bring that to my       15     And, again, going back to Jennifer Chilcoat's, the
16 attention for me to know that. As I think you indicated      16 State Library's email, that alerted people to start
17 there, there are upwards of 700,000 print items in our       17 thinking about some of these things that might be in your
18 collection, another 2 or 300,000 of other types of items,    18 library policy. So with those things in mind, as we
19 so, generally, no, I'm not aware of anything that would      19 approached that date we made some changes -- we looked to
20 fall outside of -- and it's a pretty broad scope. It         20 make some changes.
21 would be -- we might sit around and imagine what that        21     And I think August 24th is after the judicial
22 might be or look like, but I'm not aware of any.             22 injunction on July 29th. We must have made some changes,
23 Q Well, we don't have to try to sit around and try to        23 and, again, I think these would not have been substantial,
24 imagine that, so no worries about that.                      24 that would have tweaked this in certain places. I just
25     Who sets these policies?                                 25 can't, off the top of my head, tell you what they are.


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 1     I can tell you that in the course of getting ready        1 should hold, it's going to get pulled and weeded to make
 2 for the deposition and looking at your itemization under      2 way for something else that can go on that shelf that
 3 the notice, I did have staff check. Most of the core of       3 would presumably circulate.
 4 this dates way, way back. I found, in the library, a set      4     You know, it's a little akin to the Walmart model of
 5 of minutes from the April 11th, 1956 library board meeting    5 if inventory is not moving let's get rid of it and put
 6 that contained an iteration that may not have been as         6 something on the shelf that does move.
 7 quite as thorough or as precise as this, but it reflected     7 Q So you used the term weeding a couple of times.
 8 the same general spirit of we don't pick and choose things    8 Could you define that for the record?
 9 based on whether they're popular, in a sense that they        9 A The professionals of the library determining, based
10 might be controversial. We do try to provide things in       10 on the rough boundaries that I just described, that a book
11 the sense of whether people want them, and sometimes some    11 should be pulled from the collection because it's just not
12 people want things that might be offensive or problematic    12 relevant anymore, and relevance is determined by whether
13 for others, and in that situation, the library staff, we     13 people are reading it, circulating it.
14 don't take that into account. We have to be objective and    14     It could, in some exceptions, be a book gets weeded
15 provide what the community wants and I think that value      15 because it articulates science that's been overcome by
16 predates all of us in this room and is a time-tested         16 scientific models. Uranus or Pluto, one of those I was
17 library value.                                               17 taught, as a child, is one of the nine planets in the
18 Q And I want to ask about one more section of this           18 solar system --
19 policy. So if you turn to what's labeled Bates No. CALS      19 Q It was Pluto, unfortunately.
20 00003, the Collection Maintenance section, and I'll give     20 A -- is no longer a planet. We could have done without
21 you a minute to read it, if you'd like.                      21 Uranus, but not Pluto. So now if we have books on
22 A Okay.                                                      22 astronomy that talk about the solar system as I was
23 Q So as I read this, I didn't see a detailed list sort       23 taught, the solar system back when dinosaurs were roaming,
24 of like there was for the selection criteria, and there      24 then we would pull that, because it's been overcome by
25 wasn't a maintenance criteria.                               25 science and it's obsolete.


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 1 A Right.                                                      1 Q Okay. And who is the one making those determinations
 2 Q So what is that criteria?                                   2 on weeding?
 3 A The main question of it, is has this book circulated?       3 A The collection development staff.
 4 If it's sitting there on the shelf and no one is checking     4 Q Okay.
 5 it out, unless it is some sort of classic that every          5 A Leslie Blanchard is the Collection Development
 6 library in America should have, despite no one checking it    6 Manager, if you have a magnifying glass and can find her
 7 out, perhaps, if it's in the category of something that       7 name.
 8 has obviously lost appeal to the community you serve and      8 Q I will just take your word that she was on there
 9 its not checking out, in theory it's taking up space, a       9 somewhere. There was several organizational charts that
10 finite shelf space for something else that might be wanted   10 had subcategories and subcategories, so that's all right.
11 and be read and circulate.                                   11     So does she make all the decisions for all the
12     So we're not absolutely governed by the notion that      12 branches?
13 circulation is paramount, but we do want to be able to       13 A She and her staff. In consultation, of course, with
14 provide, to the community who funds the library as we        14 the staff. You know, obviously the staff -- I mean, the
15 discussed, books that are of interest and relevance to       15 branches cover different communities.
16 them.                                                        16    You live here, you would know that the people who use
17     Sometimes when we weed things -- that's the library      17 the branch in Otter Creek, the Oley Rooker Library, don't
18 term that I have to learn. We pull things out that have      18 demographically, socioeconomically reflect the group of
19 not been circulating, and I don't know what the criteria     19 people who use the Thompson Library in Chenal, and
20 is, but it's -- let's say if something has circulated once   20 correspondently they have different interests.
21 in the last five years and it's gotten a lot of dust on      21    We have more bilingual readers who are patrons at Dee
22 it, then the people whose job it is would go through and     22 Brown Library, for example, than we would at Terry,
23 decide.                                                      23 probably, or Fletcher. So there is some communication
24     Unless, again, it's one of these exceptional books       24 between the collection development people who are in the
25 that are part of the cannon of literature that libraries     25 central administration, the library, and the individual


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 1 library branch managers and the assistant managers about      1 Q Right.
 2 what their community, their neighborhood, their users         2 A Some things that we thought were products of the
 3 want.                                                         3 effort we'd made to review it, as often happens, you know,
 4    And I guess it's obviously possible that some books        4 when you're forced to look at something carefully and
 5 might continue to circulate reasonably well in some           5 that's what we did.
 6 branches, but not others.                                     6 Q So when you said you made changes to it because of
 7 Q But at the end of the day, it's pretty much the             7 Act 372, was this to come into compliance with Act 372?
 8 discretion of the -- and I forgot the title of her            8 A Well, by the time these changes were made,
 9 position.                                                     9 recommended and adopted, 372, for our purposes that
10 A The collection development manager.                        10 relates to this, had been enjoined.
11 Q It's in her discretion?                                    11 Q Right.
12 A In consultation with her staff and the branch              12 A So in the event that injunction is dissolved or
13 managers. She's also the authority on the policy of          13 reversed on appeal, then obviously we'd go back to where
14 where -- and obviously it's a rolling exercise, to some      14 we were in July of 2023 with regard to anticipating
15 extent, you know, like painting the Brooklyn Bridge or       15 implementation. But what changes were recommended and
16 Golden Gate Bridge. You know, you start here and by the      16 approved by the board in September of last year, were just
17 time you get to the other end, you may need to go back and   17 changes that we believed, independently of the enjoined
18 start painting again on the other end, so it's a process     18 Act, made some sense.
19 that goes on constantly.                                     19    For example, I think we had a policy. There's an
20 Q Right. All right. You can set that one aside. I'm          20 administrative procedure referred to here, Administrative
21 going to move on to the reorganization policy that you       21 Procedure 301, which I think was produced, that works hand
22 mentioned just a little bit ago. This is Bates No. 5 on      22 in glove with this policy of the board. And I think we
23 CALS production, if anybody on Zoom wants to take a look.    23 had some confusion between the various boards and
24   (Exhibit No. 4 was marked & attached hereto.)              24 administrative documents about how clear it was, that you
25    All right. Mr. Coulter, what have I just handed you?      25 had to be a cardholder and a resident of the system to


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 1 A CALS Board policy 301, styled "Reconsideration of           1   request reconsideration.
 2 Library Materials."                                           2      Just on that point, it became -- again, we were
 3 Q And is this, again, a common policy libraries have?         3   concerned because of Ms. Chilcoat's email. We were a bit
 4 A Yes.                                                        4   concerned because of the things that I've discussed
 5 Q Are you aware of any library in Arkansas that does          5   earlier that were obviously happening around the state.
 6 not have a policy like this?                                  6      We were concerned about the legislative hearing
 7 A No.                                                         7   process and the testimony of the sponsors, that there
 8 Q I also see revisions were made, you know, somewhat          8   might well be people who traveled around and filed
 9 recently, in September of '23.                                9   requests for reconsideration without regard to whether
10 A Yes.                                                       10   that was their library or not, and as I recall in the
11 Q Are you aware of what those revisions entailed?            11   house judiciary committee, the lead senate sponsor was
12 A Yes. That, again, would have been as a result of our       12   asked would that be a problem and he said he didn't
13 anticipating the implementation of Act 372 and our review    13   believe so.
14 of the policies that we thought were going to be             14      So we were anticipating there might be a group of
15 implicated in that enactment.                                15   crusaders that might go library to library and file these
16     In part, because this is a shorter policy and I am       16   requests and we, in part, on the advice suggested in
17 able to look at it and tell you a couple of things that I    17   Jennifer Chilcoat's email, and on our reflection, thought
18 can readily identify that were modified, we prepared a       18   there's no reason why somebody from Blytheville, Arkansas
19 modification in July. Obviously the court's order of         19   can swoop into Little Rock and start filing requests, so
20 July 29th affected the enactment -- the effective dates of   20   we made it clear that you had to be a current cardholder
21 Sections 1 and 5, but, nevertheless, we went ahead and       21   in good standing who lives in the service area in order to
22 made some -- what we thought were improvements,              22   file one of these.
23 clarifications to board policy recommended to the board      23       I think we also specified that a little bit of the
24 and they approved them, as you see there, on                 24   process would be that there would be three library
25 September 28th.                                              25   professionals. The statute uses that number. I think we


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 1 had in practice that there were typically three people in     1 out. Am I affected by because I'm a parent of a
 2 a committee that would serve the process of looking at the    2 fourteen-year-old or twelve-year-old, or an eight-year-old
 3 content that had been challenged and then making a            3 who lives in the service area and who might see that book?
 4 recommendation to the executive director.                     4     There was no guidance what constituted affected by
 5    So we were largely doing what the statute spelled          5 and that was the language used in the statute. Likewise,
 6 out, but we wanted to make clear that the cardholder had      6 with regard to appropriateness of it, we didn't have any
 7 to be somebody in the service area and we also -- or that     7 guidance on that, so we -- because of the ruling, we
 8 had a card. You can have a card and you don't live in the     8 didn't have to contend with that.
 9 service area if you pay the annual non-resident fee. So       9 Q Sure. And you mentioned the word appropriate being
10 that would qualify as well.                                  10 used in the statute, and we don't have to get into, you
11    But we also specified the time for appealing the          11 know, what does the statute exactly mean.
12 decision and we set out -- I think this was a                12 A I don't know.
13 board-initiated addition, that the item wouldn't be          13 Q There is, of course, a discrepancy between the
14 reviewed again for five years once it had been reviewed.     14 Defendants and the Plaintiffs on that issue. If
15 So those were the changes that were made, as I can recall    15 appropriate just meant appropriate under the library's own
16 off the top of my head.                                      16 criteria of selection, would you be bringing this case on
17 Q Thank you for that.                                        17 that issue specifically?
18 A One of the things I just now recalled.                     18 A Well, that was not the conversation that was had by
19 Q Okay.                                                      19 the sponsors that promoted this legislation. In fact,
20 A Ms. Chilcoat's email highlighted the issue of whether      20 when I sat through the committee hearing, it was clear to
21 or not, under Act 372, a library should allow something to   21 me it wasn't going to be governed by what our
22 remain in circulation pending the review process, and,       22 consideration is, our collection criteria.
23 again, because she had warned people that there were going   23     In fact, what was abundantly clear to me was that the
24 to be a number of these challenges once the statute went     24 sponsor was motivated because his constituents, the ones
25 into effect, she had suggested that you might need to take   25 he was listening to and moved by, were exceedingly


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 1 a count of how many books you might either pull because       1   displeased with the outcome of the standard
 2 they're under review.                                         2   reconsideration process that was going on in Leslie, Cabot
 3     In some instances, if you had a small staff, would        3   or Jonesboro, or Saline County, and they didn't like those
 4 you have to buy books if you kept them in the circulation     4   outcomes, so their solution was to change the process to
 5 while you're reviewing them? Those kinds of issues were       5   not have it end in the library board, and to essentially
 6 rolling around in that memo and in the conversations          6   turn it over to the elected officials.
 7 people were having in our library, so we set out that         7      And the chief sponsor in the senate said, and I think
 8 during the pendency of the review, that it would stay --      8   you indicated in oral argument on the 25th of July that
 9 it would remain in the circulation.                           9   this process was, in effect, created to allow elected
10 Q As I read through this policy, I don't see any limit       10   officials, who, as the sponsor has said over and over, are
11 on what the basis of reconsideration requests would be.      11   accountable to the public. The library board is not
12 Is that right?                                               12   accountable, he says over and over, and that's where we
13 A Yes. And in the statute, as you're well aware, it          13   want this process to end.
14 just said someone affected by the material could challenge   14      That was the view of the proponents, so that's why we
15 it as inappropriate, and as you also know, inappropriate     15   were concerned. We're saying, in essence, we don't have
16 is not defined. So in one of our conversations we were       16   any guideline in the statute, the statute does not say
17 trying to describe for -- because the legislature hadn't     17   that it will be the library's criteria for selection that
18 provided any content or direction, what does it mean to be   18   goes to the elected body that's going to make the decision
19 affected by? So I think we were going to have come up        19   that specifies the things, including the recommendation
20 with some sort of criteria to determine whether you were,    20   from the county judge or the mayor and other items, but
21 in fact, affected by.                                        21   none of those include the selection criteria of the
22     For example, am I affected by, because I live in         22   library.
23 Blytheville, but I just don't like Gender Queer? I've        23      So I think it's fair our inference was, and I think
24 heard it's a book that people are offended by, so I'm        24   the judge has, at least, so far agreed, that it was not
25 going to drive to Little Rock and ask that they take it      25   going to be based on the criteria of the library and I


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 1 think the reason, as a practical conclusion that's            1 these books and they believe it's their obligation to
 2 supported by the context, is if you were content to have      2 preserve their way of life and their values and they're
 3 that be the criteria that govern these reconsiderations,      3 going to impose on these quorum court members.
 4 then the system was working well.                             4    Watch the meetings in the Quorum Court in Saline
 5    I mean, libraries were reviewing their requests as         5 County, where people were haranguing the quorum court
 6 they got them and they were applying their criteria as        6 members, that you have an obligation as a Christian to get
 7 they had adopted them, and I think in most instances, as      7 this out of the collection, et cetera. That's the focus
 8 this was true in the scattering of reconsideration            8 of where we are.
 9 requests since I'd been there, those items were remaining     9    If someone is willing in the state to say to the
10 in the collection because they were, in fact, consistent     10 Defendants, no, no, you and Judge Brooks have construed
11 with the selection criteria.                                 11 this wrong, we're fine to just let the criteria be what's
12    So the takeaway is that the political process turned      12 applied, then we might be in a different place, but that's
13 a different direction. We don't like those outcomes, we      13 a hypothetical and I don't think it's going to come to
14 want a different body to decide and, in fact, we want one    14 pass.
15 that is clearly influenced by popular opinion in these       15 Q All right. Just so we're clear, if that hypothetical
16 communities.                                                 16 existed, the answer would be, no, you would not have
17    And I think your answer, and the state senator's          17 challenged it, the interpretation?
18 answer in committee, was that's the way it ought to work     18 A Well, I don't know how we go back to make a
19 in America, and if people don't like the books that get      19 hypothetical apply. If I hadn't heard the testimony, if
20 pulled out of the library or relocated or put in the smut    20 the state senator had hadn't gone on Conduit News and
21 room by their county quorum court, then they just elect      21 other places that they've had him and said what he said
22 different people to the county quorum court. So that's       22 over and over and over about we want these elected
23 what drove us there .                                        23 officials to decide, and I hadn't been paying attention,
24 Q And I certainly appreciate all those concerns, and I       24 and had been on the dark side of Pluto or whatever it is
25 know there's the disagreement on interpretation, but if      25 and didn't know that there was enormous political


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 1 that was the interpretation, what I said, that the reason     1 pressure, not just in this jurisdiction, but all over this
 2 that it could be withdrawn or removed from the general        2 country by groups called Moms for Liberty and others to
 3 circulation, and the only basis for that was the library's    3 bring these fights to the doorstep of the heretofore
 4 own criteria of selection, would you be challenging that      4 fairly low-profile public libraries across the country,
 5 one issue?                                                    5 you know, maybe.
 6 A Well, I think it -- we've challenged it and I think         6     If your stipulation or your hypothetical is if I
 7 that's where we are, is what we're doing because that's --    7 don't live in the real world I live in and I had been
 8 that's not clear. I mean, if the State of Arkansas, the       8 living in that real world, I had been paying attention,
 9 Attorney General was to willing to enter a consent            9 and I take people for their -- I take people at their
10 judgment saying that only the criteria of the library        10 word. If he says this is what we're about, then I think
11 would be considered, not any of the things that are          11 that's what they're about.
12 specified in the statute and not any of the things that      12 Q Okay. Thank you for that.
13 have been heralded by the sponsors of the statute, then      13     Does the board set these policies, the
14 maybe that would resolve this dispute if we were             14 reconsideration policies?
15 confident.                                                   15 A Correct, but not the administrative procedure
16    But I think it's obvious, too, if you look at what's      16 policies.
17 happening in Crawford County, look at what's happened in     17            MR. WATSON: And I'll have to go back and
18 Saline County, these people in the quorum court who didn't   18         check. I'm not sure we got 301, but I might
19 ask for this -- and I understand Judge Keith said this was   19         have missed that.
20 a headache he didn't want.                                   20            MR. ADAMS: We'll go back and check.
21    They know the political pressure is going to come to      21            MR. WATSON: Because I didn't notice any
22 get these books out, regardless of what the selection        22         policy related to reconsideration --
23 criteria may say. Whatever the selection criteria was in     23         administrative policy or procedure, excuse me.
24 April of 1956 and reflected in Policy 300, is not going to   24 A I can tell you that essentially 301 just spells out
25 matter if there are a bunch of people clamoring to remove    25 what the form will have on it, and details the sorts of


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 1 mechanics of how this operates. I think it also contains      1     And then the rest of the Exhibit, Bates stamped CALS
 2 provisions about how -- again, some of this was               2 10 through 25, is the manual for issuing cards in our
 3 enlightened -- if there was a silver lining from Act 372,     3 system and different types of cards, of which there are a
 4 it did prompt us to think about structuring, a little more    4 number.
 5 formally, the way we review these things and I think what     5 Q So on Exhibit No. 6, Page No. 1, which is Bates No.
 6 we set up in that policy that we should produce --            6 9, that's the policy, and then the remainder, would that
 7 administrative procedure we should produce, not a policy.     7 be the administrative procedure? Would that be the
 8 Set out that there would be three or four standing            8 technical term to use?
 9 committees comprised of the people in collection              9 A Yeah, not exactly. That's not the way we would use
10 development and they would form rotating members to          10 it. In my previous reference to Administrative Procedure
11 comprise of these committees. So it goes into that, kind     11 301, which sets forth the details of the policy for
12 of in detail, just for the purposes of executing this        12 reconsideration, that's a little more formal.
13 policy.                                                      13     Pages 10 through 25 here are just essentially a
14 Q And we can set this policy aside.                          14 manual of how staff are trained and operate in the spaces
15     A couple of times you mentioned Ms. Chilcoat's email.    15 of our branches when people come in and ask for a library
16 Did she ever send a follow-up email withdrawing the          16 card and how you go about verifying that they're entitled
17 previous email that you've been mentioning?                  17 to one and which type card it is.
18 A Yes.                                                       18     When they get a card it will be coded in the library
19 Q Okay. And in that email, withdrawing the previous          19 system as one of these types, and this just sets out --
20 email, did she go into any additional detail about why she   20 it's more in the way of an operating manual or procedure
21 was withdrawing it?                                          21 for executing our board policy, than it is an
22 A No. I saw the email late one morning, early one            22 administrative procedure.
23 afternoon. I had a series of meetings and then I came        23 Q Like I said, there are going to be just a few quick
24 back to my desk and saw that there was an email saying       24 questions here. So on Exhibit 5, if you'll turn to
25 please consider my previous email withdrawn and delete and   25 Paragraph 20, which is Bates No. 8, it says: "Children


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 1 that was it.                                                  1 ages 11 and older are welcomed to be at the library
 2 Q Okay. Are there any policies related to the location        2 without a caregiver if their behavior complies with the
 3 of materials, like, within a library itself within a          3 Rules of Conduct. Caregivers should be at least sixteen
 4 branch?                                                       4 years of age and attentive to the needs of the persons in
 5 A Yes. Yes, there is language in one of these policies        5 their care. Further information regarding caregivers and
 6 that says the selection criteria and the staff who are in     6 child safety can be found in library's Safe Child
 7 charge of that puts materials in age-appropriate locations    7 Procedure."
 8 in the library.                                               8     Two quick questions about that. So children ages
 9 Q We should be able to move through these next two            9 eleven and older are welcome to be at the library without
10 pretty quickly.                                              10 a caregiver. Why eleven and older? Is there any reason
11 (Exhibit Nos. 5 & 6 were marked & attached hereto.)          11 that number was chosen?
12 Q All right. Mr. Coulter, I've handed you Exhibit 5.         12 A Yeah, there was a lot of discussion. The board was
13 What is this?                                                13 involved in this. This was, I think, most recently
14 A Exhibit 5 is the Board Policy 400, which sets out the      14 revisited in probably August of '21, perhaps. Yeah, maybe
15 Rules of Conduct that people are subject to if they come     15 it was June of '21. That looks like the most recent
16 into our spaces.                                             16 revision, and then in August of this past year, so there
17           MR. WATSON: And for those on the Zoom,             17 may have been some other things that came up, but I don't
18        that is going to be CALS production Bates No. 6.      18 think those dealt with Paragraph 20.
19 BY MR. WATSON:                                               19     Paragraph 20 was discussed, and as I recall the staff
20 Q And then, Mr. Coulter, Exhibit 6, what is Exhibit No.      20 recommendation coming out of the pandemic, where we had
21 6, which starts at Bates No. 9?                              21 significantly restricted the numbers of people in the
22 A Yes, this is Board Policy 401, which talks about the       22 library for a while, then we let that up, and people were
23 circulation and fees, who's eligible for a card, what the    23 not dropping their kids off.
24 card entitles you to do, and what the fines may be set by    24     A lot of people use the library as their aftercare
25 the director by administrative decree, I guess.              25 and we were having cases -- this has been an ongoing


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 1 issue, as I recall, for a number of years, where people       1 sure that when somebody's child is in our library, that we
 2 were leaving their six-year-old and the supervisor of the     2 have adequate staff and are doing all we can to ensure the
 3 six-year-old was his ten-year-old brother and we didn't       3 safety of that child.
 4 have enough staff, obviously, to maintain some confidence     4    One of things that you will find in our selection
 5 that those children could be supervised by staff.             5 criteria that applies here, too, is the library is not in
 6     So coming out of the pandemic, where people had           6 loco parentis. You know, we are not legally the parent of
 7 been -- patrons and parents had been, by necessity, forced    7 the child while they're there, but obviously, as a
 8 to find other aftercare-type programs, we thought there       8 practical matter, and as a moral, ethical matter as people
 9 was an opportunity to revisit what the rules ought to be.     9 who all live in this small town I described, we don't want
10     As I recall, the board's input was they wanted the       10 to be unable to take care of these children who are there,
11 age lower. They started out it was going to be 12 or         11 and the judgment is that we can do that it if we don't
12 something and it got bumped down a little bit, but           12 have eleven-year-olds running around the library who are
13 essentially the decision was made by the board to allow us   13 not with at least someone sixteen years old.
14 to require someone who is under eleven to have a             14 Q So, again, just a line has got to be drawn and that's
15 sixteen-year-old accompany them.                             15 what it ends up being?
16 Q So was there anything special about the                    16 A Well, I mean, I guess you could argue a line didn't
17 eleven-year-old cutoff? Was it just a compromise?            17 have to be drawn.
18 A You know, I'm sure the people who were in that             18 Q Fair enough.
19 discussion would say they didn't just draw it out of a       19 A But once it was the considered judgment of the staff,
20 hat. There was a lot of discussion. You know, I think        20 in consultation with the board, that we ought to have a
21 they were thinking in terms of, all right, this is           21 line, then the question is, again, using probabilities and
22 probably a fourth grader, a fifth grader. There would        22 generalities of the average child, that was the best we
23 obviously be some eight-year-olds, nine-year-olds who        23 could conclude.
24 would be mature enough that they could be left in the        24 Q And then in Paragraph No. 21, it says: "The police
25 library and engage in library-appropriate activity or not    25 department will be called if children under 12 years of


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 1 give some of our staff anxiety about do we need to be         1 age are left unattended in front of the building prior to
 2 supervising them all the time because they might hurt         2 regular opening time or have not been picked up by 15
 3 themselves or something might happen to them.                 3 minutes after closing time."
 4    But by and large, I think the gravity of opinion was       4    So this is going to be the same question as what
 5 that eleven is about the age where kids can take care of      5 we've been discussing. Why twelve years old? Is it just
 6 themselves, for the most part, in a library-safe space and    6 because once the line had to be drawn, you had to pick
 7 you don't have to be constantly watching them the way you     7 one?
 8 might need to for the average six-year-old or                 8 A Yeah, I don't know why twelve is the number there. I
 9 seven-year-old.                                               9 just know, again, as heartbreaking as it is to our staff
10 Q So it sounds like it was just a -- a line had to be        10 to see these kids who have been left after the library is
11 drawn and that was just the best one that could be hashed    11 closed, we were trying to provide them with some means of
12 out by everybody?                                            12 motivating parents to not leave those children and leave
13 A Yes.                                                       13 our staff driving off if that child is still there and we
14 Q All right. And then the caregivers in the next             14 need some way to encourage and incentivize parents to be
15 sentence being at least 16 years of age --                   15 more responsible with their children.
16 A Yes.                                                       16 Q And I'm sure these librarians are also building
17 Q -- why that line?                                          17 relationships with these kids, who a lot of times is the
18 A Again, it was a function of sort of the collective         18 same kids?
19 judgment of what would be an age where somebody would be     19 A Absolutely they are.
20 generally mature enough to look after some younger           20 Q So we can set Exhibit 5 aside and move on to Exhibit
21 sibling, or younger child with them.                         21 6. And just as a prewarning, I'm going to ask similar
22    And, again, we were trying to be accommodating to         22 questions about -- you know, there's an age limit that
23 parents who needed the library after school, we were         23 exists in this policy or operating manual, and why is that
24 trying to be as least restrictive as possible, given the     24 the one. So if you'll turn to Bates No. 20, that second
25 concerns that the staff had and the need we have to make     25 paragraph: "Children under the age of 14, who are not


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 1 accompanied by a parent or guardian, may apply for a          1 levels with regard to Section 1, but obviously for not
 2 provisional card," and it goes on.                            2 treating -- or attempting to treat five-year-olds and
 3    Why 14 as the age limit for a provisional card?            3 sixteen-year-olds, seventeen-year-olds as the same, for
 4 A I don't remember being privy to any conversation            4 purposes of coming to the library and being -- having
 5 about that, the way I was in other instances, so I can't      5 access or being subjected to some book with sexual content
 6 give you a feel for why that became the age break, so I       6 made available.
 7 just don't know.                                              7     And, in addition, we thought it also invited an
 8 Q Okay. And then two paragraphs down: "The maximum            8 enormous amount of potential uncertainty and problems for
 9 age for a provisional card is 17. Once a patron is 18,        9 anyone responsibly trying to advise staff about their
10 they'll have adult options available."                       10 exposure to criminal liability with regard to what
11    Any reason why 18 is the limit between provisional        11 community standards -- what community decisions would
12 and an adult card?                                           12 infuse or inform the decision as to whether or not
13 A Well, essentially when they're 18, they're no longer       13 something with sexual content went afoul with the Miller
14 a minor, they're adults.                                     14 test as applied to children, to minors.
15 Q All right. That's all I really wanted to ask about         15     So it was fraught with peril, and it was in our view
16 those, so you can set those aside. Are you good?             16 obviously upsetting to librarians all over the state who
17 A I'm good.                                                  17 didn't sign on for this work with the possibility that
18           MR. WATSON: Anybody else need a break?             18 they might go to jail for doing the jobs they've been
19        Okay.                                                 19 doing by having books in the collection that might have
20 A It's always the court reporter, in my experience, who      20 sexual content and might be said by some prosecutor to be
21 makes that decision.                                         21 harmful to minors.
22           MR. WATSON: Are you okay, Michelle?                22 Q So is it -- and if I'm misunderstanding, please
23           THE COURT REPORTER: Yes, thank you. Why.           23 correct me. Am I correct in understanding that it is more
24 BY MR. WATSON:                                               24 about the consequences of potential prosecution, than it
25 Q Okay. Hopefully we're on the back end of this. So I        25 is about the statute itself and what it means?


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 1 want to move on specifically to the challenge to Act 372,     1 A Well, those are inexplicably linked in my view. The
 2 now that we've been kind of hitting around it, and I want     2 statute, again, means what it says with regard to treating
 3 to kind of take that a little more full force now.            3 minors as the same. It means what it says with regard to
 4    So as I'm sure you're aware, and you mentioned             4 reading into this process of determining whether someone
 5 earlier, there are two sections you're challenging.           5 is in violation of Section 1 and subject to criminal
 6 Section 1, which is the criminal provision, and Section 5,    6 penalties if community standards might say that with
 7 which is setting some sort of standard for reconsideration    7 regard to a five-year-old, there is no redeeming literary
 8 policies and how those need to look.                          8 or societal value, and, therefore, with regard to a
 9    I want to start with Section 1. So what,                   9 five-year-old certain books that are very popular among
10 specifically, is your understanding of what you're           10 older minors, or certain books that are very popular among
11 challenging related to Section 1, and I have copies of the   11 adults, that have sexual content, could trigger criminal
12 Act, if you want to look at that?                            12 liability.
13 A Well, again, I think the -- the most reliable              13     So I'm not sure that it's -- I don't understand how
14 indication of what we were challenging is in our Complaint   14 you can separate out that fundamental problem that we have
15 and in our briefing around the Motion for Preliminary        15 with the statute from any part of Section 1.
16 Injunction.                                                  16 Q Are you aware if CALS is implementing any similar
17    Generally, and speaking as a client and litigant and      17 policy that uses the harmful to minors definition? And
18 not the lawyer on the case, as I've said earlier we did      18 I'm using policy not in the specific board sense, but just
19 not believe that we could continue to operate the library    19 as a practice.
20 in the way we have operated it if Section 1 became the       20 A Well, I think to some extent these are not lawyers
21 law, because it essentially made it a misdemeanor to have    21 making the decisions in the collection development, but to
22 books with sexual content anywhere on our shelves that       22 some extent where we were before SB 81 was enacted, we
23 would, thereby, be said by some zealous prosecutor to be     23 were aware that we don't have obscenity in the library.
24 being made available to a five-year-old in our library.      24 No publishers are going to make it available, and we're
25    We believe the statute was defective on a number of       25 not going to collect it, and we were aware that as it had


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 1 been left post-Shipley, the law that was redone by Act 372    1 that are protected speech for you or me, but might be
 2 essentially prohibited disseminating or distributing          2 considered harmful to children.
 3 things that were harmful to minors, so in some ways we had    3     In other words, you can't go sit down in one of our
 4 to make some sort of decision about that, at least            4 terminals and pull up things that you have a right to look
 5 implicitly.                                                   5 at as a matter of looking at pornography as an adult and
 6    In the real world, as you know, and anybody else who       6 we -- we have software that gets updates and is installed
 7 will come to my libraries, we don't take people of any        7 on all those devices.
 8 age, when they come in the door, and say, hey, would you      8 Q And you, perhaps, can see where I'm going with this.
 9 like to read Gender Queer, how about this Barbara             9 Again, it's a statute, so it doesn't really need to be in
10 Kingsolver novel, it's got some sex in it? That's not the    10 the record, but I have a copy for you, if you want to take
11 way it goes.                                                 11 a look at it, and I'll mark it as Exhibit No. 8.
12    And the way we read the statute, you didn't have to       12    (Exhibit No. 8 was marked & attached hereto.)
13 do that after 372 was enacted. You just had to have it in    13     This is a kind of long statute. I'm obviously not
14 your library somewhere and you have to be able to keep all   14 going to have you read the whole thing, but if you would
15 the five-year-olds away from any book that might have        15 flip to Subsection F(7). It's on the second to the last
16 something of a sexual nature, that might somewhere,          16 page. It's got definitions.
17 someday, somehow by some combination of a zealous            17     And, again, walking through the entire thing, I'll
18 prosecutor and a determination that a five-year-old is       18 represent to you that these are the definitions for the
19 being harmed by having access to a book that would clearly   19 Children's Internet Protection Act.
20 not be a problem for a sixteen-year-old.                     20 A I'm sorry, is it F(7)?
21 Q Are you familiar with CALS' Internet Use Disclaimer        21 Q I believe it's F(7), but it's on the second to the
22 and Public Computer Use Policies?                            22 last page.
23 A I'm generally aware that we have one. I haven't            23 A Page 6, at the bottom?
24 reviewed it.                                                 24 Q Yes, sir.
25 Q I'm not going to really spend time on asking               25 A Okay, I got it. I couldn't find the F, but I see the

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 1 questions specifically about this document, but just in       1 7 under Definitions.
 2 candor, I'll let you take a look at it.                       2 Q So the definitions here of harmful to minors and
 3 A All right.                                                  3 minor, those are going to be 7(B) and (C)?
 4 Q This is going to be Exhibit 7.                              4 A Right.
 5   (Exhibit No. 7 was marked & attached hereto.)               5 Q And I'll let you take a look at those.
 6 A Okay.                                                       6 A Okay.
 7 Q And, also, I pulled this off of CALS' website.              7 Q To me that seems, you know, pretty close to what Act
 8 A Okay.                                                       8 372 sets out as its standard of harmful to minors.
 9 Q And this is really just going to be a hyperlink to          9    Is there any reason -- I mean, what is the
10 the next point I make. So in that last paragraph, it         10 difference, in your opinion, or in your view of
11 says: "CALS complies with the Children's Internet            11 understanding, between this statutory definition that you
12 Protection Act, which requires that schools and libraries,   12 do apply, and Act 372, which you're now challenging?
13 which receive discounted Internet access through the         13 A Well, first of all, what this statute governs is the
14 E-Rate program must filter obscene and harmful content."     14 access to things that are on the Internet via library
15    Did I read that correctly?                                15 computers. Obviously, any one who can sit down at a
16 A Yes.                                                       16 computer that's not been equipped with the device that the
17 Q To your knowledge, does CALS comply with the               17 library buys to screen and to keep access to pornography
18 Children's Internet Protection Act?                          18 off of the libraries' computer, can go to what I assume
19 A Absolutely. That's a condition of taking that              19 are an unlimited number of sites that have protected --
20 federal money. The Supreme Court ruled that that was a       20 constitutionally-protected speech that an adult is
21 constitutionally-permissible condition for Congress to put   21 entitled to look at.
22 on the E-Rate subsidy.                                       22    But what the law says, is you're not entitled to do
23    Most libraries, perhaps all in Arkansas, have made        23 that through a library Internet connection that is funded
24 that tradeoff and we have vendor software that is running    24 by the Federal Government, in large part through this
25 on all of our computers that restricts access to things      25 E-Rate subsidy.


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 1      So we're talking about content that is on the web,       1 earlier, we have requirements that put the collection that
 2   not content that's in the library, and what the Federal     2 they've carefully decided upon in certain places in the
 3   Government has said, is here's this framework, if you want  3 library we think are age appropriate.
 4   this money to enable you to pay Internet service providers  4     One of the fundamental problems with the statute, as
 5   with federal money, then you have to keep people, who are   5 we said, and we think that the judge agreed, is that there
 6   otherwise entitled, from doing it when they're in your      6 is no way I can hire enough staff to keep five-year-olds,
 7   library with regard to the content that might be harmful    7 who are in there with a parent, from wandering around, and
 8   to minors on the Internet, or somewhere out in the ether    8 there's no safe harbor, as the judge pointed out, even if
 9   space.                                                      9 I'm in there with my five-year-old and I'm looking for
10      That is different from saying that books you have on    10 Fifty Shades of Grey and my child is nearby, I may have
11   your shelf that are wildly popular, Fifty Shades of Grey   11 committed the act of making available, to this minor,
12   for adults, in light of Act 372, you are subjected to      12 something that some prosecutor might say was harmful.
13   criminal prosecution if you make that book available to a  13     So, again, it's vague, it's overbroad, it's full of
14   five-year-old.                                             14 problems in a day-to-day, practical way for somebody who's
15      The Arkansas Supreme Court opined, when Judge Eisele 15 trying to run a library and keep staff from going to jail
16   certified the question in Shipley, that Arkansas'          16 or being threatened with prosecution.
17   definition of harmful to minor statutory definition        17 Q So a lot of what you were just discussing was related
18   applies to all minors, and, therefore, the five-year-old   18 to the conduct. My understanding of the Complaint is that
19   in my library could be said to be exposed to, we are       19 what's also being challenged, is the fact that it applies
20   making it available by just collecting it.                 20 to all minors as a class, as opposed to, you know, making
21      That is a material difference than we're putting on     21 some sort of sub-distinction between minors.
22   our computers, that are largely funded by federal subsidy, 22     But it sounds like with the Children's Internet
23   access to the Internet, a chip that screens out access to  23 Protection Act, you -- I mean, I don't know if you could,
24   things that are not in my library, things that are out     24 on the computer, even make such a distinction, because who
25   there everywhere in ways that would probably be -- to an 25 knows who's going to be accessing the computer, but it

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 1   old man like me, would be coarsening and frightening and      1 sounds like you apply that as minors, sweeping, like all
 2   shocking.                                                     2 minors are --
 3       We're happy to make that tradeoff because we don't        3 A Well, here's the point as I understand it, and,
 4   have collection development people who look at what's on      4 again, I'm not the lawyer in the case. The Arkansas
 5   the Internet, believe it or not, and decide. We have          5 Constitution -- the Arkansas Supreme Court has said that
 6   people that that's their job, and they pick these 700,000     6 the definition, by statute, that we're talking about here,
 7   books, weeding and buying new ones constantly, and they       7 harmful to minors, which is obviously a national standard
 8   make determinations based on whether the audience they're     8 that's been adopted in state-by-state jurisdictions, in
 9   buying them for wants those books.                            9 Arkansas, anyway, when Judge Eisele certified the
10       We believe that audience has a constitutional right      10 question, the Arkansas Supreme Court said that applies to
11   to those books, we believe those books are not obscene, we   11 all minors.
12   believe those books might, in some instances, as the         12     So we didn't make that determination. Judge Brooks
13   statute you're defending has been redone, might trigger      13 followed that determination and, in fact, points out that
14   criminal liability for our staff.                            14 in some other states, I think Virginia for one, the
15       That's a fundamental difference from saying you have     15 question was certified in Virginia and they said, no,
16   access through your computer in your home to anything you    16 that's not what it means.
17   want on the Internet, but you don't have access to           17     But that's not where the law sits in Arkansas when
18   anything you want when you come in the library where the     18 Act 371 was enacted. So we have to deal with the law as
19   computer connection is provided by the Federal Government    19 it stands under Arkansas and as the proponents delivered
20   because that's the requirement the Congress of the Federal   20 it to us, and if you take the Arkansas Law as the Supreme
21   Government made.                                             21 Court has declared it is, and you take the language that
22       So we're willing to accept that tradeoff for the         22 uses that harmful to minors phrase, that applies to
23   E-Rate subsidy, and, furthermore, it's policing behavior     23 everybody who is under the age of 18 and that becomes a
24   in the library for things that are not reviewed by           24 frightening prospect for people who work in the
25   professionals and put in my library. As I've said            25 public-facing spaces in my library.


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 1     I know that because I listened to them for months as      1         if --
 2 this legislative debate was going on and after the law was    2             MR. ADAMS: Okay, go ahead.
 3 enacted.                                                      3 BY MR. WATSON:
 4 Q Okay. So in CALS' implementation of the Children's          4 Q Okay. So in CALS' implementation of the Children's
 5 Internet Protection Act, does that apply to minors,           5 Internet Protection Act, if a website or something on the
 6 meaning 17 -- under 17 as a class?                            6 Internet is harmful to a five-year-old, does that mean
 7 A It applies to adults. If you go into the library and        7 it's blocked for everyone?
 8 you sit down at one of our computers, we are screening at     8 A It's blocked for everyone, period.
 9 that computer. Now, you may be able to go -- because I        9 Q Okay. That's all I'm asking.
10 think in the Supreme Court decision, Justice Rehnquist       10 A We don't make the determination, as your statute
11 says that if I come into the library and I'm an adult, I     11 requires of us, whether it's being blocked for a minor who
12 have the right to go ask the library to let me get to that   12 is five or a minor of sixteen, because the way the law is
13 pornography site that's on the Internet, and I believe --    13 written and applied and implemented by us in pursuit of
14 and, again, I'm not the lawyer and you guys have studied     14 that, or in compliance with that, is it applies to every
15 this and I have not, but I believe that the individual       15 minor, and, therefore, we don't have to try to make that
16 who's an adult over 18 has the right to access that in the   16 determination the way we do under Act 372 because we know
17 library.                                                     17 material on our shelves with sexual content is going to
18     So they have to come ask. There was a lot of             18 arguably be harmful to some five-year-olds.
19 discussion and opinion about whether that was a              19      What -- what problem I have with that, is I can't
20 stigmatizing thing, whether they should not be required to   20 tell my staff, with any degree of confidence, you are okay
21 go knock on the door and say I want to get this turned off   21 because of the way they changed the law. Before it was
22 on my computer, so I can look at porn.                       22 changed I could because it required us to aggressively
23     But we're not talking about adults. We're talking        23 push the content, which we don't do no matter what the
24 about any minor, as Arkansas law has defined it, and         24 content is.
25 that's all of them. And what we know from some of the        25      Some child wants to know where the books are on

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 1 Plaintiffs in this case, is that they believe they have a     1   sharks, we try to find what they want, but we don't push
 2 right to read books that would be considered problematic      2   books. The way the statute stood before a year ago, and
 3 to me as a parent of a five-year-old, and what the Act        3   the way some of us suggested to the general assembly that
 4 does, is tell me, as the Library Director, you can't          4   they leave it, we could live with because we didn't have
 5 provide those books to the Crawford County Plaintiff or       5   to make a determination.
 6 the woman who was a Central High junior or senior. You        6      But what they did, contrary to at least one
 7 can't do that because you're running the risk, in doing       7   explanation I've heard from the sponsor who has it, by my
 8 that, of having your staff or you be criminally charged       8   view, exactly backwards, they weren't content with just
 9 because that book might be considered harmful to minors       9   having it prohibit the promoting, distributing,
10 under Arkansas law.                                          10   disseminating something that was harmful to minors. They
11 Q Sure. But right now I'm asking you about CALS'             11   want it to be if it's in your space, if it's made
12 implementation of the Children's Internet Protection Act,    12   available.
13 and my reading of this statute and I think the way it --     13      So we take that and we take the Arkansas Supreme
14 well, my reading doesn't matter. I'm asking a factual        14   Court certified ruling in response to Judge Eisele and
15 question about how CALS is implementing it.                  15   that harmful to minor statute applies to everybody who's a
16            MR. ADAMS: I'm going to object because I          16   minor, so that's recipe for chaos, at best.
17        don't think -- I mean, do we -- have we put           17      Contrast that to CIPA, it's a bright line. We want
18        anything into evidence about how the CIPA             18   the money, the Supreme Court has said if you want that
19        definition is actually interpreted?                   19   money you have to block access to all content, whether it
20            MR. WATSON: Well, that's a legal question.        20   might not be deemed harmful to a five-year-old or a
21            MR. ADAMS: Right.                                 21   sixteen-year-old. It doesn't matter in that analysis
22            MR. WATSON: Well, I'm asking about the            22   because we're blocking all of it.
23        implementation, what CALS does, and I'm trying        23      And we know, and as the Rehnquist plurality opinion,
24        to -- I poorly phrased it a couple of times, but      24   whatever it is says, that's infringing upon the
25        can I ask the question and then you can see           25   constitutional rights of some adults and they had some


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 1 workaround that's acknowledged in that case.                     1        explicit for young minors and that would expose
 2     But that's fundamentally different than what we're           2        CALS' employees to criminal liability under
 3 talking about in the routine, ordinary lives of my staff         3        Section 1.
 4 who are buying these books that we know have sexual              4           But we're not -- we're not conceding that
 5 content, and we know the Arkansas law.                           5        these books do violate Section 1, both because
 6     So the combination of this practice of having these          6        of where they are and because of the content of
 7 books that people who are 16, 26, 66 have a right to read        7        the books. That's all.
 8 and want to read, they want their public money to be spent       8 BY MR. WATSON:
 9 on collecting, we have to do something. Either we don't          9 Q All right. And before we get into the specifics of
10 buy those books, we don't collect those books, or we don't      10 those books, I want to ask about a couple of emails that
11 let any people under the age of 18 come into our library.       11 are from you to various other people.
12 Q Okay. I think I got the answer that I was looking             12    (Exhibit No. 9 was marked & attached hereto.)
13 for, so I'll move on.                                           13     So this first one I've labeled Exhibit 9. I'll give
14             MR. ADAMS: Can we take a break?                     14 you a chance to get familiar with that and when you're
15             MR. WATSON: Yeah, let's go ahead and take           15 comfortable, would you let me know what document you're
16        a break.                                                 16 looking at, generally?
17           (Brief recess was taken.)                             17 A So it appears to be an email from John Chrastka to me
18             MR. WATSON: All right. Next, as we're               18 dated January 25th, 2023.
19        starting up here, I am going to turn to the              19 Q All right. And on Page 2, it has a quoted blocked
20        Subpoena Duces Tecum, which I asked for some             20 portion that purports to be from you. If you would read
21        books that you believe are subject to Act 372,           21 over that and let me know if, in fact, you recall sending
22        Section 1, and I believe Mr. Adams has an                22 this email.
23        objection he'd like to make.                             23 A I don't recall sending it, but obviously it has --
24             MR. ADAMS: So Mr. Coulter has brought five          24 it's indicating that I sent it on January 24th, so I'm
25        books that are in CALS' collection.                      25 content to believe if we produced it, that that came from

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 1             THE WITNESS: I think there's six books               1 something that was in my email.
 2         that are in CALS' collection.                            2 Q Okay. So I'm going to read what is the --
 3             Actually, one of them is in the collection,          3             MR. ADAMS: Hold on.
 4         but I had to get a copy at Target because the            4             MR. WATSON: Yes, go ahead.
 5         book in the collection is so poplar that all of          5             MR. ADAMS: For the record, I don't believe
 6         them were checked out.                                   6         this has been produced.
 7             MR. WATSON: There's actually seven.                  7             MR. WATSON: This is not y'all's
 8             MR. ADAMS: All right. We brought more                8         production.
 9         than we needed. But you asked for five items in          9             MR. ADAMS: Right, by any party in this
10         CALS' collection that believes would make it or         10         litigation before now, right?
11         its employees subject to criminal punishment            11             MR. WATSON: Correct.
12         under Section 1 of Act 372 of 2023.                     12             MR. ADAMS: It was obtained by a FOIA?
13             So for the record I want to object that the         13             MR. WATSON: It was obtained by someone
14         court has found that Section 1 is vague in its          14         given by FOIA and given to me, but, yes, it was
15         use of verbs like presents, makes available and         15         through FOIA.
16         shows, so CALS can't reliably determine what            16             MR. ADAMS: Okay, thank you.
17         would make it or its employees subject to               17 BY MR. WATSON:
18         criminal punishment under Section 1.                    18 Q Okay. So in the second paragraph of your email, and
19             Also, we're, for reasons that Mr. Coulter           19 I'll just read it for the record: "Our lobbyist says that
20         stated earlier, determining which -- which              20 the forces behind this bill sincerely believe that some
21         materials may be harmful as to which minors, is         21 libraries are engaged in the distribution of harmful
22         itself an added layer of complexity that renders        22 obscenity. He says that the firm AALL has engaged --
23         the statute difficult for CALS to interpret.            23 agrees with that assessment. These legislatures are not
24             So Mr. Coulter brings these books as books          24 amenable to the fact that we are decidedly not doing
25         that many people could find too sexually                25 that."


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 1     I just wanted to ask you specifically about this last     1 has been passed, is to talk about this obscenity provision
 2 sentence that you are not decidedly doing that. What did      2 that got repealed in the end, not for museums,
 3 you mean by "that"?                                           3 interestingly enough, but just for libraries and schools,
 4 A We are not collecting or circulating obscenity as           4 that's in this far -- far away section of the code that
 5 that term has been interpreted in Miller and Ginsberg to      5 deals with the crime of selling obscenity and being
 6 adults.                                                       6 prosecuted for it.
 7     And part of that was at the time of this introduction     7     That was, in some ways, a part of the legislative --
 8 of this unpleasant chapter that we've all been living         8 and I guess even afterwards, strategy of the proponents
 9 through since late 2022, early 2023, all the talk from its    9 who talk about this as though we're talking about
10 proponents was about obscenity, get the obscenity out of     10 libraries are collecting and circulating obscenity, can
11 the library, and you know that in the Act there is -- the    11 you believe that, and they're got an exemption in the law
12 header is that a provision that would repeal the             12 that exempts them from being criminally charged with that,
13 long-standing exemption under a separate section of the --   13 how dare they ask for that. That was sort of the tone of
14 of obscenity criminal code not having to do with             14 where these conversations were heading.
15 libraries.                                                   15   (Exhibit No. 10 was marked & attached hereto.)
16     And that was the -- the -- in effect, the opening        16 Q Okay. That's all I wanted to ask about that, and
17 salvo, the conversation starter, if you will, by the         17 I've got a similar question about this second email that
18 proponents of SB 81 to talk about repealing the obscenity    18 seems a little more specific to the legislation than the
19 exclusion or exemption for libraries, schools and museums    19 one we just looked at, so I'm going to ask a similar
20 and that was where my attention was focused, and at that     20 question.
21 point I thought, you know, this seems to be an exercise in   21 A I assume the source of this is the same as you
22 performative politics without a lot of practical             22 identified earlier?
23 implications because no library in America is collecting     23 Q Yes, sir.
24 and circulating obscenity as defined by Miller, in part,     24 A We have redacted the email addresses and I guess I
25 because that's already a crime.                              25 don't see a date, but it appears Exhibit 10 is an email

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 1     Publishers don't -- even if a library wanted to, much     1 from Bobby Roberts to various people, including me, and I
 2 rather do it, but we certainly weren't and I don't know of    2 do have a recollection of this email at the time and I
 3 any library in America that has or ever would, so that        3 think it probably would have been in the same timeframe as
 4 seemed to me to be, like I said in there, sort of an          4 the earlier exhibit, January, February of -- well, I do
 5 academic exercise that must have been about performative      5 see a date stamp below where he was responding evidently
 6 politics.                                                     6 to an email I sent on January 21st. It's the same
 7 Q You are not saying here, or are you saying here that        7 timeframe as Exhibit 9, which was the Chrastka email of
 8 CALS does not have any items in its collection that would     8 January 25th, I think.
 9 fall under the definition of harmful to minors as you         9 Q So if you turn to Page 2, the last paragraph, the
10 understood it?                                               10 sentence that starts out: "And it seems clearly within
11 A No, that's not what I'm saying there. I was talking        11 her prerogative to brief him on why this legislation is
12 about, as I just said --                                     12 unneeded, a solution in search of a problem that doesn't
13 Q Got it.                                                    13 exist." You're speaking specifically to a specific
14 A -- the conversation -- and, in fact, if you go, as I       14 legislation, as opposed to just general comments.
15 did last night, and looked at the lead sponsor's interview   15    Am I reading that correctly?
16 on Conduit News, the website platform on Facebook, again     16 A This is, again, in the context of where the original
17 when he's asked about his, at that point, recently enacted   17 iteration of the bill, which did not look a great deal
18 SB 81 in the form of 372, he's heralding, and he wrote an    18 like what was finally -- what resurfaced after as I
19 essay in the Democrat-Gazette and in both instances -- and   19 understood there was some effort to negotiate among
20 I'm sure this was happening elsewhere, he always leads       20 library leaders and representatives attended by the
21 with, well, why should librarians not be subject to          21 sponsor and others.
22 obscenity crimes? You know, it's just like pharmacists       22    I was not present at that meeting, but there was an
23 aren't exempt from negligence and none of us is exempt       23 interlude between when this correspondence is taking place
24 from obscenity, they shouldn't be treated separately.        24 and when they came back with the amended and superseding
25     So all the conversation started, even after the law      25 bill, which looked significantly different in ways that


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 1 aren't necessary to go into here.                             1 criminal liability because they are on the shelves of the
 2     But what I'm saying, you know, is the information         2 library.
 3 that I'm being given by Robert Coon, who is identified in     3     So the books that are in our collection, the copy of
 4 this email, who was the impact management consultant on       4 our first book, A Court of Mist and Fury by Sarah Maas is
 5 our matters, and I'm saying, you know, if -- if Bobby         5 in the collection, but this is actually a copy that I
 6 would be willing to talk to Jennifer Chilcoat, who had        6 purchased over the weekend because all of our copies are
 7 been employed when Bobby was in the Library as the Deputy     7 in circulation. So I'm told -- I've not read this book,
 8 Director under Bobby before she took the job for the          8 but I'm told it's an extremely popular series and I'm told
 9 State, that she might suggest to the head of the              9 and believe, based on the sources, that it has sexual
10 Department of Education that this is really in search of     10 content in it that might be held to be harmful to a
11 a -- a solution in search of a nonexistent problem, again,   11 five-year-old; I'm told that the nature of that content
12 with regard to the obscenity being circulating that's not,   12 might be deemed by some people to be at odds with the
13 and that, again, was what the sponsor was talking about      13 community values.
14 most of the time, what people who were hearing about it      14     So in any event, I cannot opine comfortably to my
15 saying and -- and advocating let's stop the obscenity in     15 staff that this book wouldn't trigger some potential
16 the library and let's certainly don't give those people in   16 criminal exposure as the Arkansas Supreme Court is
17 the libraries an exemption of the criminal code for          17 defining harmful to minors.
18 providing obscene material. So that's, again, the context    18     So that's the first book.
19 for that.                                                    19 Q Okay.
20 Q Okay. That's the only question I had about that, so        20 A But I also will note that I believe this book is on a
21 we can put that to the side, too, and I think that should    21 list that we were sent by the Director of the State
22 be the last paper exhibit that I've got.                     22 Library recently, of some 30 books, saying that a member
23     So now let's turn to some of these books that we've      23 of the Arkansas State Library Board had asked if they
24 got here and this is the first time I'm looking at these     24 would inquire of all the public libraries in the state as
25 as well, so I might have some general discussion about       25 to whether those libraries had, in their collection, these


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 1 them.                                                         1 30 books, approximately, and this was on that list, which
 2            THE COURT REPORTER: We need to go off the          2 I think we can all presume came from -- was initiated by
 3        record for a second. My sound stopped recording        3 the most recent appointee of the governor to the State
 4        in real time.                                          4 Library Board. So in any event, it may well be one that
 5          (Brief recess was taken.)                            5 would cause possible criminal exposure.
 6 BY MR. WATSON:                                                6 Q So, one, you said that you were told about --
 7 Q All right. Mr. Coulter, you've brought some books           7 A Yeah, I haven't read this book.
 8 here today that are in response to our Subpoena Duces         8 Q Okay. And so who told you --
 9 Tecum, where we asked for five items in your collection       9 A The only book I have read, Demon Copperhead. I have
10 that you believe would make you or your employees subject    10 not read all of the -- although, I thumbed through the
11 to criminal punishment under Section 1 of Act 372 of 2023.   11 graphic novel and I've thumbed through the books that are
12    Could you identify, first of all for the record,          12 essentially sex education titles, but I have not -- this
13 which books you've brought?                                  13 is a 600 and some odd page fantasy novel. It's not my cup
14 A Yes. Let me say that in response to your request, in       14 of tea. I haven't read it, don't expect to read it, but
15 a spirit of accommodation and collegiality, I looked at      15 I'm looking at -- as I said, I'm looking at these lists
16 various lists of books that have been handed around by       16 that have been circulating from people who are proponents
17 proponents of Act 372 and groups like Moms for Liberty or    17 of Act 372, in some cases ardent proponents, and in some
18 related to that entity and I may have inquired of our        18 instances the same people who send me emails and claim
19 people what types of books might be in this category.        19 that I and my staff are groomers, et cetera.
20    And let me say your language, five items in CALS'         20     So I believe that the sources I have about the
21 collection that CALS believes would make it or its           21 content, family, friends and professionals on the staff,
22 employees subject to criminal punishment, I'm not, again,    22 is that it contains sexual content and I think it's
23 saying these would be so deemed, but I am certainly, as      23 certainly consistent with these lists that are
24 I've said before, not able to tell my staff with             24 circulating, including the one from the state library.
25 certitude, that I would like, these will not trigger         25 Q So with the books that you've not read, and you said


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 1 you've been told that it has content, the I'm told that       1 A No.
 2 you're referring to on that list is family, friends, and      2 Q Okay.
 3 CALS' staff?                                                  3 A I mean, I think it may not have been the intent -- I
 4 A Yes.                                                        4 presume that's not the intent, but I haven't spoken to the
 5 Q And, also, you --                                           5 author, I haven't read the book, so I'm not really in the
 6 A The people I talked to about it. Obviously I haven't        6 position to make that conclusion.
 7 talked to the authors that are circulating.                   7     But I, also, would point out again, that we're
 8 Q Okay. And you also mentioned a list with 30 books in        8 talking about a range of potential people being around it
 9 an email. Who was that from?                                  9 and it's thereby made available to who -- for whom it
10 A Ms. Chilcoat sent that from the State Library a            10 might be sexually exciting, notwithstanding whatever the
11 couple of weeks ago asking all of the state libraries to     11 intent of the author was.
12 comply voluntarily with a request recently made by one of    12     And that's, again, part of the problem -- a big part
13 her board members to tell them, the State Library Board,     13 of the problem with regard to the statute, applying
14 whether you have, in your collection, the books that are     14 harmful to minors as the Arkansas Supreme Court has read
15 on that list.                                                15 that.
16 Q Did that email purport to be related to Act 372?           16 Q And do you believe that the book has some sort of,
17 A The email from Ms. Chilcoat did not say that this has      17 you know, literary or artistic merit?
18 been inspired by Act 372, but I think it's a reasonable      18 A Yes.
19 inference that the environment we're operating in, which     19 Q Okay. What section is this housed in in the library?
20 includes the adoption and the litigation, I think it's a     20 A This is -- I don't have the book that's in
21 reasonable inference that the person who is the              21 circulation, but I believe this is in young adults.
22 inspiration for that request from Ms. Chilcoat, is also      22 Q All right. And we can set that one aside. Take your
23 the person at the first state library board meeting he       23 pick of which one we go to next.
24 attended and made a motion to cut off the funding for the    24 A I can also tell you that I'm confident that's in
25 public libraries who had -- had the audacity to go to        25 young adult because I believe one of the books in that


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 1 court and suggest that this statute needed some judicial      1 series of the library moved from young adult based on
 2 declaration of its constitutional infirmity.                  2 either professional staff's awareness or some requests.
 3     So there's not anything in the email, but, again,         3     What -- what the library staff is doing when they
 4 living in the real world, as I try to do most days, I         4 collect materials, are looking, as I indicated earlier, at
 5 think it's a fair inference that that is coming from the      5 book lists and industry publications before they get
 6 recently appointed board member.                              6 there. Those typically have labeling on them, but we
 7 Q Okay. Now, I want to walk through these, but A Court        7 don't rely on that 100 percent. We're going to make some
 8 of Mist and Fury you mentioned there, and some of these       8 determination, our staff.
 9 are going to seem like some silly questions, but I'll ask     9     And when I was looking for this book, I ran across
10 them for the record anyways. So this one, to your            10 information to indicate that all of that author's books
11 understanding, contains some depictions of nudity, sexual    11 are in young adults, but one of them was moved by our
12 conduct, sexual excitement or sadomasochistic abuse?         12 staff to the adult section, after either some observation
13 A I don't know that it contains all those.                   13 or some suggestion from somebody who had read the book and
14 Q Or at least some of them?                                  14 our staff just concluded that it needed to be in the adult
15 A It contains sexual content probably in a way that          15 section. And I think it was -- I think it was the Court
16 would be such that I wouldn't want to read it in front of    16 of Silver Flames series, maybe.
17 my six-year-old daughter if I had one.                       17 Q And that was moved based on the sexual content within
18 Q Okay. And is the book predominantly about sexual           18 it or was it some other --
19 content that you just described?                             19 A Yes. Yes.
20 A I have no idea. I haven't read it.                         20 Q All right. We can move on to --
21 Q Okay. Are you aware of whether that sexual content         21 A As I told you earlier, our staff and our criteria has
22 is displayed in a positive or negative light?                22 language -- you know, we are obligated to locate things
23 A No.                                                        23 that are in the collection in age appropriate parts of the
24 Q Are you aware of whether it was written with the           24 library, and so that was a reflection of that -- carrying
25 intent to sexually excite people?                            25 out that charge.


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 1 Q You can pick the next one or I can --                       1 Q So designed primarily for education?
 2 A All right. The next one that I picked up is a book          2 A Yes.
 3 by Nikol Hasler, Sex: An Uncensored Introduction, and         3 Q Okay. And along the same lines, do you believe it
 4 this is a book that is on our shelves and it is young         4 has some literary or artistic value?
 5 adult and it would be what I would described as a sex         5 A Yes, certainly for older minors.
 6 education book.                                               6 Q All right.
 7     In fact, there's a graphing at the bottom of this         7 A The next book is Looking For Alaska by John Green.
 8 paperback edition that has an image of a bird, an image of    8 Q Have you read this one?
 9 a bee, so I think for old-school people like me, this is a    9 A I have not. It's a New York Times number one best
10 book about the birds and the bees.                           10 selling author, but this book, I think, has been alluded
11 Q And, again, this is one of the obvious questions I         11 to, by some witnesses in the case, and in addition I have
12 said I was going to ask. Does this book -- well, first of    12 been told, again, by the same circle of staff, friends, or
13 all, have you read the book?                                 13 acquaintances, that it has sexual content, and, again, my
14 A No. But when I just open at Chapter 5, the title is:       14 standard would be, for purposes of this statute, could it
15 "Foreplay, Getting it on before getting it on," so I think   15 be potentially seen as harmful to a five-year-old, I think
16 it's pretty obvious that this is about -- Chapter 3 is:      16 the answer is yes.
17 "Masturbation, The greatest love of all," and so forth.      17 Q Is, to your knowledge, the book predominantly about
18 Q All right. And I think it's safe to say that the           18 nudity, sexual conduct, sexual excitement or
19 book is predominantly about sexual topics?                   19 sadomasochistic abuse?
20 A Yeah, this is just a sex education book. "Your Body"       20 A Don't know.
21 is Chapter 1. There are images of circumcised and            21 Q Okay. And I assume this would be the same answer,
22 uncircumcised penises, so that's what you would expect if    22 but are you aware if those topics are displayed in a
23 someone was looking for a sex education book in a library.   23 positive or negative light in the book?
24 Q And so the purpose is sex education of this book, I        24 A Don't know, I haven't read it.
25 think you've said a couple of times. To your knowledge       25 Q Okay. What section of the library is this?


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 1 was it written to sexually excite young people?               1 A This is also young adult.
 2 A As far as I would know, I think the answer to that is       2 Q Okay. So do you believe it has some sort of literary
 3 no.                                                           3 or artistic value for young adults, at least?
 4 Q Okay. And do you believe it has some sort of, you           4 A Yes. You know, young adults, I think, is a broad
 5 know, literary or artistic merit for young people?            5 category in the library world, probably ages 10 to 18,
 6 A Yes.                                                        6 but, again, if it's on our shelf in our young adult
 7 Q Okay. Then that's all I've got on that one.                 7 section and a five-year-old is in that area, that
 8 A So let's stay in that category because I think this         8 five-year-old, maybe having access to something that's
 9 other book, It's Perfectly Normal is in the same genre, if    9 made available to that five-year-old might be deemed
10 I can use a library word. It makes me sound like I know      10 harmful to a minor by some.
11 what that means.                                             11 Q And I think I missed this one on my list. Are you
12    This is another sex ed book, It's Perfectly Normal by     12 aware if the depictions of nudity, sexual conduct, sexual
13 Robie Harris and Michael Emberley, and the subtitle is:      13 excitement or sadomasochistic abuse, whichever it is, in
14 Changing Bodies, Growing Up, Sex, Gender and Sexual          14 Looking for Alaska, are written with the intent to
15 Health.                                                      15 sexually excite the reader?
16    And, again, I assume the question is the same as the      16 A No, I think the intent would not be to sexually
17 others. If you thumb through it, there are illustrations,    17 excite the reader, although I assume that in some
18 clinical and otherwise, of male and female anatomy           18 instances some people would find it sexually stimulating,
19 throughout the book, and I would say it's designed to        19 and that might be the reason they read it and it certainly
20 answer curiosities and questions that adolescents would      20 could be the reason for younger people to read it, who
21 have.                                                        21 might not otherwise appreciate the literary depth and
22    I would, again, not knowing the author, not having        22 breadth of the material.
23 read it from cover to cover, be willing to assume and        23 Q All right. What's your next one?
24 speculate that it's not written to sexually excite, if       24 A The next book is Margaret Atwood, The Handmaid's
25 that was your question.                                      25 Tale, the graphic novel edition of that. It's pretty


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 1 obvious to thumb through that and see depictions of          1 A No, graphic novel is just a category.
 2 intercourse and nude or barely-clothed female bodies.        2             MR. ADAMS: This is not a YA graphic.
 3 Q And when you say the graphic novel, for the record         3 BY MR. WATSON:
 4 what do you mean by that?                                    4 Q Okay. Well, there's no such thing as YA graphic,
 5 A Well, that's a classification of books that                5 right, there's just graphic and that's it?
 6 essentially can have what I would consider illustrations     6 A I think there's just young adults.
 7 or renderings and fewer words. There are adults who read     7             MR. ADAMS: My understanding is there is a
 8 graphic novels, and so this is in the graphic novel          8        YA graphic. Maybe that's -- I'm not here to
 9 section, but obviously some mature minors would read         9        testify, but this one does not indicate that
10 graphic novels as well.                                     10        it's in the YA section.
11    But, again, the same problem exists regarding Section    11 A Maybe there is a subset of YA that's graphic novels
12 1 of Act 372 and the Arkansas Supreme Court's               12 within in the YA section.
13 determination that minors -- in the harmful to minors       13 Q But you're unaware?
14 statute in Arkansas applies to five-year-olds, as well as   14 A I'm unaware of that.
15 to seventeen-year-olds.                                     15 Q And do you believe -- do you have an opinion about
16 Q Would it be to describe a graphic novel as a long         16 whether or not that graphic novel has any sort of
17 comic book?                                                 17 literary, artistic merit for minors?
18 A I wouldn't describe it that way for fear of offending     18 A Well, you know, it's -- the author has a novel, The
19 the author. I don't really have a good grasp on the         19 Handmaid's Tale, which is the forerunner, I guess, of the
20 origin of the genre or what they might call this            20 graphic novel that she also authored and I would say,
21 particular literature.                                      21 unequivocally, that the novel has literary value.
22    You know, a crotchety, old man might say or my           22     And, again, without having done anything that we've
23 English teacher, again, might say, well, it's designed to   23 done here, thumbing through it, I would be willing to say
24 appeal to an audience of people who don't like a lot of     24 that that's also the case for the graphic novel, which, I
25 words in small print on pages and they need to see to be    25 think, is just another way of communicating that story.


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 1 interested in the story. They need to see things that are    1     You know, in so many ways, what literature is about
 2 more visual and graphic and this book does have some very    2 is like what a poem is about or what a piece of art is
 3 graphic things involving sexual content.                     3 about on the wall. It's going to be interpreted
 4 Q Have you read this one?                                    4 differently by different audiences, it's going to be seen
 5 A No.                                                        5 in one light maybe by the author, and may fall in a
 6 Q Do you have any specific instances that you know           6 different light to the reader or to the observer of the
 7 about in there? You mentioned a couple of times that         7 art.
 8 there's --                                                   8     You know, one of the great books in classic books,
 9 A Well, it's, again, it's like the -- they're easier         9 Vladimir Nabokov's, Lolita, has been reinterpreted, and,
10 than picking up the Maas book, which doesn't have any       10 you know, whether that was an intent to create a monster
11 images in it, to just thumb through this book or one of     11 as some sort of inditement of misogyny, there are all
12 the sex ed books and just see images of people engaged in   12 sorts of evolving senses of whether these pieces of
13 intercourse or in some form of S&M, it looks like to me.    13 literature are still relevant or still held in the same
14 Q Are you aware if the -- you know, those topics -- and     14 esteem and so it's a fluid thing.
15 I'll read them again for the record. Nudity, sexual         15     But I believe, to some extent, and you couldn't get a
16 conduct, sexual excitement or sadomasochistic abuse, if     16 consensus on which ones, but all the books in our
17 they are portrayed in a positive or negative light within   17 collection have some literary value or they wouldn't have
18 the book?                                                   18 been published by for-profit publishers, and I'm confident
19 A I don't know.                                             19 that our staff, professionals who collect those books, do
20 Q Don't know. Okay. And are you aware if those are          20 a tremendous amount of research and work to figure out
21 depicted with the intent to sexually excite people?         21 what books should be in the collection that are going to
22 A Don't know.                                               22 be available to the community that wants to read them.
23 Q And you said that it is in the graphic novel section.     23 Q And I have no doubt that your librarians and staff do
24 Does that have like subcategories between like young        24 a wonderful job doing that. Just having to go through
25 adults and minors --                                        25 these --


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 1 A Yeah, I think it goes without saying that they              1 Q All right. We can go to the last one.
 2 collect books that I wouldn't necessarily want to read.       2 A This is a book by Barbara Kingsolver. I have read
 3 That's obvious here. I don't plan to read any of these        3 this, and I think it's an excellent novel. Again, it
 4 books, except for the last two, but I also will say I know    4 deals with tragedy. The main character is a teenager in
 5 that we collect books that are controversial and in a lot     5 Southwest Virginia who's been tossed around from various
 6 of subjects. It might be that some of my friends who are      6 foster care after his parents' death, and he falls victim
 7 advocates for Act 372 would be surprised to find that         7 to opioids after he suffers a football injury, and he has
 8 there are books in the library that people who are on         8 a relationship with another teenager that is sexual and
 9 opposite ends of this issue and this dispute don't            9 described in some detail throughout those parts of the
10 approve, don't like, but we're going to continue to          10 book that relate to that relationship.
11 collect.                                                     11 Q But the book itself is not -- is it predominantly
12 Q All right. We have two left.                               12 about the sexual nature of the relationship?
13 A The first one is a novel that's probably 25 years old      13 A Well, it's about the relationship, and I would say
14 by Dorothy Allison, Bastard out of Carolina. It's            14 that the sexual part of the relationship is clearly a
15 appeared recently in a list of 100 best novels in America    15 significant component of that relationship.
16 that I saw that The Atlantic published a couple of weeks     16    But, again, that might be subject to bearing and
17 ago and I have talked to people about it.                    17 interpretation. Somebody else might see the relationship
18    And it, again, contains a heartbreaking tragedy of        18 as some other psychological need that one or both of the
19 domestic, sexual abuse. It is a highly-acclaimed book        19 parties have, but I think it's hard to read the book and
20 that has sexual content, a lot of people want to read it,    20 not see that sexual component to the relationship.
21 but it may well be something that would be considered        21 Q And you said you've read this one, so I think I'll
22 harmful to a five-year-old if we make it available to a      22 ask a little more specifically than I have with the other
23 five-year-old.                                               23 ones. But if you could, what ballpark percentage of the
24 Q When you say heartbreaking depictions, what did you        24 book is dedicated to discussing the sexual relationship,
25 mean by heartbreaking?                                       25 because I mean, that's the --


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 1 A Oh, just tragically dysfunctional family settings,          1 A Well, I don't want to hazard that guess. It's been a
 2 poverty and incest and abuse.                                 2 year or so since I read it, but I do remember, as I was
 3 Q So, you know, the topics; nudity, sexual conduct,           3 reading it, perhaps roughly concurrently with some of
 4 sexual excitement or sadomasochistic abuse are displayed      4 these issues occupying the headlines and some of what I do
 5 in a negative light in this book?                             5 every day for the library, that the thought occurred to
 6 A Well, back to my previous soliloquy, I'm not sure           6 me, on more than one occasion, that this book is really a
 7 what the author's intent is, if the author holds up           7 demonstration of what the people who are agitated and
 8 something in our society that is heartbreaking or painful     8 adamant about trying to restrict what others can read may
 9 or tragic, but reflective of reality in some parts of         9 be reacting to the -- the -- a lot of the reviewers of the
10 society. I believe they are promoting it or heralding it     10 book said that the author was channeling Dickens,
11 as a virtue, but I do think they believe -- and I think      11 Copperfield, David Copperfield. It's another story of a
12 this is one of the fundamental values that a public          12 teenager who --
13 library endorses, that we are all collectively wiser and     13 Q I actually wrote that down right here because I was
14 more empathetic if we read stories that take us to see       14 going to follow up on that.
15 things and imagine things that are not our own circle,       15 A And so if you read Copperfield, if you read Dickens
16 thankfully in most cases.                                    16 19th century books, the -- the level of sexual content in
17    And so I think they are promoting this horror in a        17 those books, versus this early 21st century novel that's
18 way they think is in the long run collectively good for      18 award-winning, is significantly different.
19 society to raise awareness and, perhaps, to diminish the     19    And it is a metaphor in some ways, an allegory in
20 reoccurrence and incidences of that kind of abuse.           20 some ways for this issue of societal conflict that we're
21 Q So when you say promoting, you just mean to make           21 here about. My library -- I, the board of the library,
22 aware?                                                       22 the staff, we don't set the literary guidelines, we don't
23 A Yeah, that's exactly what I'm saying. Promoting            23 set the nature of stories that get told and what way
24 awareness of something that most of us, perhaps, would       24 they're told, what words are used and how -- how
25 rather not think about.                                      25 descriptive the sexual liaisons are in those stories.


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 1    We have Dickens and we have Kingsolver and we are, in      1   their right to read these books and for the library to
 2 both instances, having those, collecting those because        2   have those books on their shelves.
 3 that's what the community we live in expects from their       3       Their right to read and their right to access those
 4 publicly-funded library. We don't believe that someone in     4   is impaired by the overbroad and vague provision that
 5 the community who might be offended by the descriptions in    5   essentially turns over, to elected officials, who, for the
 6 Kingsolver, but we'd have to look hard and long to find       6   reasons I described earlier, are going to be vulnerable to
 7 anything in Dickens that would be comparable, should be       7   political pressure and there's nothing in the statute, as
 8 able to keep the rest of the community from having the        8   I noted, that says that they would use the selection
 9 same access to Kingsolver, as they do Dickens.                9   criteria that the library has set forth, that they would
10    And if the standard that it's used, as the one the        10   use whatever they deemed to be community values.
11 Supreme Court of Arkansas has decreed as harmful for         11       And as a practical matter, and somebody who's been
12 minors, then you might well say that both Dickens and        12   around politics a little bit in my life, the people who
13 Kingsolver might be harmful to some minors.                  13   are the most animated about subjects in politics, often
14    But, certainly, the sexual content in Kingsolver is       14   times get the most response from elected officials, and if
15 greater and my concern, anxiety, given the way the statute   15   you're an elected official and the criteria is not the
16 was reframed for Kingsolver would be far more than it is     16   kinds of things you've been asking me questions about,
17 for David Copperfield.                                       17   literary content, whether it's of significance
18 Q And it sounds like the sexual content in Demon             18   artistically to people in the community, but their only
19 Copperhead is really like developing that relationship       19   issue is I don't want my phone to keep ringing, I don't
20 that you discussed between the main character and whoever    20   want people to keep emailing me about why I'm enabling the
21 the relationship is with?                                    21   library to groom people, or why I'm doing things that
22 A Right; right.                                              22   allow obscenity in the library, so I'm just going to tell
23 Q So it's not necessarily -- it's not -- is it written,      23   the library that they should move this, relocate this,
24 in your opinion, to -- with the intent to sexually excite    24   withdraw this, et cetera. That's what the statute,
25 people?                                                      25   because of its constitutional defects is going to permit

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 1 A Again, I don't know the author's intent, but I would        1 and that's what we're objecting to.
 2 say probably not. It's part of the way that the author        2 Q And are you aware of anyone who has said that they
 3 believes that she should tell the story, but the question,    3 intend to you, you know, lodge a challenge because of
 4 I think, from my standpoint, is might it be held by           4 Section 5?
 5 somebody that for a five-year-old that has some sort of       5 A No, but, again, it's a little like I was describing
 6 sexually preeminence, that it would have to a 16-year-old     6 earlier with regard to the list that came from
 7 or you and me.                                                7 Ms. Chilcoat. People don't have to spell out what may
 8 Q I'm almost done with this, but what section is this         8 motivate them if they're hearing about it, reading about
 9 story in?                                                     9 it, and, perhaps, they're getting their information from
10 A That's an adult novel, adult section.                      10 social media about these topics and they get motivated
11 Q All right. I think I'm done with Section 1 and I           11 because they're being told things about what the library
12 only have about three questions written down related to      12 is doing, a lot of which is misinformation, or at least
13 Section 5, because I think we covered most of that when we   13 not an accurate depiction of what goes on in the library.
14 discussed the policies at the beginning of all this.         14     And, you know, what I do know, is during the
15     So reframing Section 5 as, you know, the second part     15 timeframe, this somewhat high-profile debate, at least in
16 of your challenge, what is your, in general, understanding   16 social media, we had people who would contact our
17 about why you are challenging this section?                  17 libraries and start asking about books that happen to be
18 A Well, again, broadly as I said in the Complaint, we        18 on these lists.
19 think it's unconstitutional because it's -- it's vague and   19     We had a patron in Maumelle who left a note in their
20 it engenders content-based suppression of material or        20 book return box saying she had checked out 53 books, I
21 content-based decisions by elected officials to move --      21 think it was, that she believed were inappropriate and
22 withdraw is one of the virtues in the statute, or remove     22 that those books she would not be returning until we vowed
23 or either relocate.                                          23 to take those out of the collection.
24     So our objection is similar, broadly, that it's          24     That was some time in the timeframe of June of last
25 unconstitutional and it makes -- deprives some people of     25 year. So did she say, in her demand letter, I'm doing


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 1 this because I've been following SB 81 and Act 372, no,        1 Q Okay. And in this lawsuit that you've brought or
 2 but do I think those things happen just coincidentally,        2 that CALS has brought as one of the Plaintiffs, are you
 3 probably not.                                                  3 seeking any relief as to the Social Section in Crawford
 4 Q All right. And with her, are you aware of whether            4 County?
 5 she would have been able to lodge a challenge under            5 A No, I don't know what -- I don't know what books were
 6 Maumelle's --                                                  6 actually designated for the Social Section, but my general
 7 A Yes. Yes.                                                    7 understanding is that it was the same types of books that
 8 Q Would she have been able to lodge a challenge?               8 have riled other people in other locations. That is to
 9 A Sure. Sure.                                                  9 say books that dealt with sexuality and gender, books that
10 Q Okay. That's all I've got.                                  10 might have had sexual content, particularly in LGBTQ+
11           MR. MCLELLAND: I've got some questions,             11 context.
12        but I do want -- I need to review my outline.          12     But other than that, I couldn't tell you what books
13        Do we want to take a break for lunch?                  13 are in the Social Section of Crawford County as a result
14           MR. ADAMS: Sure, let's take a lunch break.          14 of that controversy.
15          (Lunch recess was taken.)                            15 Q Okay. What relief are you seeking against Crawford
16               EXAMINATION                                     16 County in this case?
17 BY MR. MCLELLAND:                                             17 A Well, the broad relief we've identified in the
18 Q Mr. Coulter, good afternoon. You realize that you're        18 lawsuit would be to not have the unconstitutional statute
19 still under oath?                                             19 used against the people who live in Crawford County, the
20 A Yes.                                                        20 patrons of the library in Crawford County, in a way that
21 Q And just so we have this on the record, you and I           21 would deny them of their constitutional right to access to
22 know each other outside the context of this litigation; is    22 constitutionally-protected speech.
23 that right?                                                   23 Q Are you seeking -- obviously it's in the record that
24 A Yes.                                                        24 you're an attorney, but my understanding is that you're
25 Q And does knowing each other in any way affect your          25 seeking to stop Section 1 and Section 5 of Act 372?


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 1 ability to tell the truth in today's deposition?               1 A Correct.
 2 A No.                                                          2 Q And Section 1 is against prosecuting the Defendants?
 3 Q Okay. Thank you.                                             3 A Correct.
 4    You talked about this, kind of, with Mr. Watson,            4 Q Section 5 is against -- you're seeking to enjoin
 5 about what was kind of going in Crawford County, Saline        5 Crawford County from implementing Section 5; is that
 6 County, and I think you mentioned Jonesboro, perhaps.          6 right?
 7    What's your understanding of what's going on in             7 A Along with anyone else who might, under the statute,
 8 Crawford County?                                               8 remove constitutionally-protected speech under Section 5
 9 A Well, I have a limited understanding compared to             9 because the elected body, in the case of Crawford County,
10 everybody else in this room, but my understanding was that    10 the Quorum Court, I understand, deems that to be
11 about the same time that SB 81 was running its course         11 inappropriate.
12 through the general assembly, there was a local               12 Q When you say along with anyone else, who are you
13 controversy in Crawford County over certain books that        13 referring to?
14 people in the community brought to the attention of the       14 A Well, the other regional libraries, county libraries,
15 library and then they've engaged the quorum court in an       15 municipal libraries, any other entity around the state
16 effort to get those books moved or isolated or setoff from    16 that would be running a public library in a way that would
17 the remainder of the collection because of the citizens'      17 be considered covered or governed by Section 5 of Act 372.
18 concerns about the content of those books.                    18 Q Okay. And you put it really succinctly there at the
19 Q And if I was to say the term Social Section, would          19 end. So you're seeking to stop anybody that could enforce
20 you know what that meant?                                     20 Section 5 of Act 372 from enforcing Section 5 of Act 372?
21 A Yes, just generally in the context of that dispute.         21 A Yes.
22 That was what I understood, that they had a shelf or they     22 Q Okay. Why didn't CALS sue all of those entities, why
23 had a location that was marked the Social Section and         23 just Crawford County?
24 that's where they put some of these books that were           24 A You'd have ask my counsel about that. I'm not -- you
25 causing concern and agitation.                                25 know, I wasn't engaged in micro details of figuring out


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 1 who the parties would be with respect to the specific         1 will have to take certain steps that we anticipated
 2 parties who are represented by Mr. Watson, or who any of      2 taking, as I said, in July of 2023 if the statute had gone
 3 the parties would be with respect to Section 5 and the        3 into effect on August 1st, and if we -- if we are put back
 4 enforcement provisions of Section 5, so that would be         4 into that situation, where the statute is going to be
 5 something that I wasn't consulted about or wasn't involved    5 implemented, then we would have to take account of that
 6 in any details with.                                          6 and adjust our process accordingly.
 7 Q So is it your understanding that if Judge Brooks            7 Q And in your -- in this lawsuit, the relief you seek
 8 rules in your favor, all of -- let me be more specific.       8 is to enjoin such provisions from becoming state law? The
 9 CALS would have to implement Section 5 of Act 372; is that    9 Section 5, rather, just focus on Section 5?
10 right?                                                       10 A Right.
11 A If the injunction is dissolved or set aside.               11 Q Okay. So I think in Exhibit 10 that Mr. Watson kind
12 Q Okay. So it's your understanding that under the            12 of alluded to earlier, the email traffic between you and,
13 current injunction, CALS is enjoined from enforcing Act      13 I think, Bobby Roberts and --
14 372?                                                         14 A Yeah, I have it.
15 A No, we -- we are relieved from having to take steps        15 Q It looks to me that by about January 21st of 2023,
16 inside the library to comply with Section 5, but my          16 you had already been emailing folks about, you know, SB 81
17 understanding of Section 5 is that the city board or the     17 and the concerns that you had of it.
18 county quorum court in the area where the particular         18     At what point, between SB 81 being introduced in the
19 library at issue is, would be the entity that would          19 legislature, which I think was January 19th of 2023, and
20 ultimately decide what goes in the library and not. That     20 the day that you filed the lawsuit, when did CALS decide
21 would be the elected body who are to make these decisions.   21 to be a Plaintiff and bring this lawsuit?
22 In our case it would be the Little Rock City Board, I        22 A I don't know the exact date, but I appeared in the
23 think, but it would be -- it would vary from county to       23 judiciary committee -- the house judiciary committee some
24 county.                                                      24 time in late February and the bill -- the bill that day
25    For example, I think there's the Southeast Regional       25 failed to get out of committee, so at that point there was

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 1 Library that might serve five or six counties in Southeast    1   no need for litigation.
 2 Arkansas. I'm not sure. I think the statute states that       2     Within a matter of 48 hours, perhaps, some amendment
 3 whichever of those counties collects and contributes the      3   had been made and an additional vote or two was secured in
 4 largest share of that multicounty library system's budget,    4   that committee and I think it passed on a voice vote
 5 that county quorum court would be the one where the           5   without a roll call the next committee meeting.
 6 decision would be made about what contents stays in the       6      At that point it headed to the governor's desk and in
 7 entire system's libraries in Calhoun County or Ashley or      7   that timeframe, once we knew the governor was going to
 8 Drew or wherever it might be.                                 8   sign it, there was no suspense about that, of course, we
 9 Q So I think I got a little lost in that. So CALS             9   were in a situation where we were starting to decide what
10 would have to implement Section 5 of Act 372?                10   our next strategy would be.
11 A We wouldn't implement it. We would have to take an         11      So that would have been some time -- as I recall, the
12 account of its provisions in regard to Policy 300 --         12   tornado struck the same day the governor signed this Act
13 Q The reconsideration policy?                                13   372. I'm not sure those two facts were related, but I do
14 A -- or Policy 301 that we described this morning, the       14   think that was the date that it got enacted. It got
15 process for reconsideration. We have a process. It -- in     15   signed and it was going to be in effect in August. So
16 some substantial degree it would be in compliance with the   16   from that point, then we only had a litigation strategy
17 enjoined statute, Section 5 of the enjoined statute,         17   option and we began looking at those possibilities for
18 except for in its current format, in its current             18   talking to lawyers and trying to decide what we could do.
19 iteration, the ultimate decision rests with our board, not   19      The board of the library was kept abreast of all
20 with the City of North Little Rock.                          20   this. You know, I submit monthly written reports to my
21 Q Gotcha. So you would have to take steps -- in              21   board every month. Not everything in those three pages or
22 implementing Act 372, you'd have to take some steps, or      22   so of items that I think the board should be kept aware of
23 CALS would have to take the steps to change its              23   gets discussed at the actual board meeting because it
24 reconsideration policy to comply with Section 5?             24   would take the board longer than they want to spend.
25 A Yes, if Section 5 becomes the law of Arkansas, we          25      They're a little like Rotarians or a civic club.


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 1   When the 1:00 hour arrives from our noon to one meeting,      1 approximately in April, and he said, yes, his board was
 2   they start to shuffling, so we try to do it in honor of       2 concerned about it and they would be talking to their
 3   their time. They're all volunteering. We try to be out.       3 lawyer and keep him apprised of what we were doing, so
 4       So they would have been apprised of the pending           4 that was sort of where that conversation went.
 5   legislation throughout the January, February time. I          5 Q Do you know why Fayetteville Public Library is the
 6   believe it would have been in the April board meeting that    6 lead Plaintiff and not Central Arkansas Library System?
 7   Mr. Adams came to address the board about what he and         7 A I do not. I didn't draft the Complaint.
 8   others who were looking at this issue were pondering and      8 Q We talked about this a little bit, or you talked
 9   what their initial conclusions were.                          9 about this with Mr. Watson a little bit, kind of what's
10       I asked for permission, in that April meeting, and it    10 been going on down in Saline County in their library, and
11   was granted by the board, to pursue -- continue to confer    11 I think they decreased their mileage; is that right, or
12   with lawyers and continue to consider our options. I         12 they were threatening to decrease their millage --
13   believe when I left that board meeting, as a professional    13 A In Saline County?
14   courtesy I picked up the phone and contacted the Attorney    14 Q Do you know if that happened in Saline County?
15   General, whom I've also known for a long time, and said      15 A I'm not aware of any change in their millage in
16   Tim, I just want you to hear this from me, it will           16 Saline County.
17   probably be reported in the paper tomorrow that my Board     17 Q Okay. But are you aware that they had some people
18   is moving towards authorizing us to file a lawsuit, we       18 challenging books and trying to remove books from their
19   continue to explore that, but we won't go forward until we   19 library?
20   get back another report from counsel and that will be at     20 A Yes. Yes.
21   the next month's board meeting, so nothing will happen       21 Q Do you know why you didn't -- or why not sue Saline
22   between now and then, depending on what the board does,      22 County in addition to Crawford County?
23   but you might tell who is -- if you want to, who's going     23 A I do not know that.
24   to likely draw this assignment in your office and we'll      24 Q Okay. You said earlier, during your deposition with
25   put the lawyers in touch for sort of facilitating certain    25 Mr. Watson, you alluded to County Judge Chris Keith's


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 1 things that lawyers acting in a collegial spirit like to        1 statement in his deposition in which he said something to
 2 do. I think General Griffin said give me a moment or a          2 the effect of, you know he didn't want the headache of Act
 3 day or whatever he said and then he reported back to me         3 372.
 4 that it would probably be John Payne and so that was where      4     Have you reviewed Judge Keith's deposition?
 5 we were in April.                                               5 A Just briefly last night.
 6     In May we had another board meeting, our monthly            6 Q And what all did you review; what all did you read
 7 board meeting, and, again, John Adams addressed the Board,      7 when you reviewed it?
 8 answered questions and there was another vote and this          8 A I just read through his deposition in a fairly quick
 9 time the vote was to authorize filing of the lawsuit, and       9 fashion. It was on my computer. It was a digital
10 all of that is reflected in the minutes that were produced     10 document and I just skimmed through it.
11 in response to the notice of deposition and subpoena.          11 Q Gotcha. Did you read any part of Judge Keith's
12 Q Yeah, I believe so. Thank you for kind of adding             12 deposition discussing the fact that Crawford County would
13 context to the rest of it.                                     13 potentially be on the hook for attorneys' fees should the
14     So it sounds like by May you authorized to bring a         14 Plaintiffs prevail in this case?
15 lawsuit on behalf of CALS to stop Act 372.                     15 A Yes.
16     Did you, on behalf of CALS, or you individually, have      16 Q And do you have any thoughts about what Judge Keith
17 any discussions with the Fayetteville Public Library           17 said, or anything about the fact that Crawford County
18 leadership and directors about bringing a lawsuit or           18 would have to foot the legal bills in this case?
19 joining in on the lawsuit?                                     19 A I feel his pain, and if you go back and watch the
20 A Yes. Somewhere in that timeframe, I don't know               20 brief comments I made in the house judiciary's committee's
21 exactly when, I would have communicated to David Johnson,      21 hearing on SB 81, that's exactly what I told the
22 my counterpart at the Federal Public Library, that we          22 committee, that they were essentially going to be writing
23 were -- my Board was authorizing us to continue exploring      23 a blank check to be covered by various counties and
24 the possibility of filing the lawsuit. So if I had that        24 municipalities around the state if they passed this Act
25 conversation with him, it would have been, you know,           25 because it was going to inspire a lot of controversy that


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 1 would promote -- I think I called it a -- this is a job's     1   100 percent content based. We don't like these books
 2 bill for lawyers, this is going to create a lot of            2   because they contain descriptions of gender dysphoria or
 3 litigation.                                                   3   how people react to that or how they live their lives that
 4     I told them I had practiced law for 30 years and you      4   are a part of the community that these people don't want
 5 are passing something that is full of constitutional          5   to have in books.
 6 uncertainties, at best, and it will trigger disputes,         6      So if those things are true, as I firmly believed
 7 political and legal, in counties and cities all over the      7   then and I do now, the inevitable thing for the
 8 state. And regardless of what you think about the             8   politicians, these elected officials to do is to order the
 9 expressed intent of the sponsors of this bill, which I        9   removal or to keep these books in some sort of social
10 accepted at face value is to protect children, what you      10   section, if you will.
11 are, in fact, doing, in addition to vilifying librarians,    11      That will, in turn, trigger litigation, just as it
12 you are creating an enormous litigation expense for people   12   did in Crawford County in the lawsuit that was filed about
13 like Judge Keith, who I guess wasn't holding office at the   13   the same time as this lawsuit, and so what I was telling
14 time, but he stepped into that and that is exactly, I        14   the legislature, is the general assembly and the state
15 think, what his testimony confirms, and he feels that he's   15   treasury is not going to have to pay for these litigation
16 going to have to bear that load, pay that freight.           16   defense costs, in the first instance defending their
17 Q So when you gave this testimony at the house               17   county or city legislative bodies.
18 judiciary about a blank check, were you -- when you said     18      And ultimately, as Judge Keith is worried,
19 that, did you mean it in the context of people bringing      19   apparently, that if they lose a First Amendment case, then
20 lawsuits challenging their -- I'm trying to think of how     20   a lot of lawyers are going to line up for their Section
21 to phrase this.                                              21   1988 attorneys' fees to be shifted on to the defendants
22     When you said the testimony about blank checks, did      22   who attempted or allowed, in this case, unconstitutional
23 you mean it in the context of people challenging their       23   removal or withdrawal of books from the shelves of a
24 rights being restricted under Act 372, or did you mean it    24   public library.
25 is a blank check for the communities having to defend the    25      So that was what I meant and what -- what I bolstered

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 1 law that they didn't write?                                   1   that with was the sponsor in the state senate had been
 2     And I can rephrase that it if that's a --                 2   speaking when he introduced his bill to the committee in
 3 A Well, if your question is what did I mean, I'll take        3   the house and said -- he acknowledged that he had talked
 4 a shot at that.                                               4   to -- or maybe somebody asked him a question, but he
 5 Q That's fine.                                                5   acknowledged, admitted to somebody on the committee that
 6 A You want to ask that?                                       6   he had been in consultation with the Arkansas Association
 7 Q Yeah, I can. Thank you. What did you mean when you          7   of Counties and the Arkansas Municipal League, both of
 8 said, in your testimony at the house judiciary, that they     8   whom run, as I understand it, their risk management pools
 9 were creating kind of a -- writing a blank check for          9   or self-insurance fund for the counties and cities to pay
10 communities and counties to have to bear the cost of it?     10   into, and then use that to pay lawyers to defend counties.
11 A So what I meant, and what I think has come to pass,        11      And what he admitted to, was that both the Arkansas
12 at least thus far the federal judge concurs, was that they   12   Municipal League and the Association of Arkansas Counties
13 were setting up a process that was going to lead political   13   were not wild -- I don't think he used that term. He said
14 controversy in county after county, city after city over     14   they don't like this bill, but they don't believe there's
15 books that some number of people who are extremely           15   any constitutional problem with it, to characterize what
16 motivated and extremely upset about these books, they will   16   he said, and it's all in the record, so you can
17 visit the county quorum court members, they will visit the   17   doublecheck that.
18 city board members in libraries across the state.            18      And that was absolutely what I believed they would
19     And, inevitably, if you have been around for a while,    19   say, which is, look, we don't want to be having to pay out
20 and you're sitting in the seats of those people in those     20   of our risk pool to cover things that we already have with
21 elected legislative bodies in both counties and city         21   regard to other Title 7, other employment-type cases,
22 level, those people are going to be influenced by these      22   another whole batch of cases that are going to be
23 vocal and aggressive opponents of certain books in the       23   triggered because you're going to enable content-based
24 library.                                                     24   removal of books.
25     Those challenges are, to my observation, almost          25      So in essence, whoever he talked to at the Arkansas


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 1 Municipal League and Arkansas Association of Counties, was    1   members, justice of the peace, or their city board
 2 telling him the same thing that I was telling the general     2   members, and they're going to complain about those books.
 3 assembly that day. And so fast forward, they did not --       3       And the political realities are that those pour souls
 4 he didn't, and they didn't heed that advice. They enacted     4   who are in those lucky positions are going to have two bad
 5 this law and that's what going to happen, just like Judge     5   choices. One bad choice is to spurn the adamant, agitated
 6 Keith is worried.                                             6   constituents pleas to get these books out of our library.
 7     You're going to end up putting on these already           7       That's a bad choice. The other bad choice is to move
 8 strapped counties the cost of, in the first instance,         8   the books, do whatever, create your own social section,
 9 defending your decision to remove books, and if I'm right,    9   whatever it is that you work out that's clearly content
10 and I think the evidence is substantial, that it's going     10   based and then you're going to get sued.
11 to be based, as it was in Crawford County with regard to     11       So of the two bad choices, the politics being what
12 the Social Section, on content, then you're going to wind    12   they are -- Judge Keith, I think, described Crawford
13 up paying not only the firm that's defending you, but        13   County as a very red or very conservative county. It
14 you're going to pay the plaintiffs' lawyers who brought      14   doesn't take a political pundit to figure out where this
15 the lawsuit.                                                 15   is going.
16 Q Something that you said and I want to parse through        16       And, again, as I said this morning, if you listen to
17 this, and I want to make sure I understand your testimony,   17   the repeated promises of the sponsor in the senate, this
18 is it your understanding that the Social Section is          18   is what he wanted. He doesn't trust library boards. They
19 Crawford County's attempt to implementing Act 372?           19   don't like the outcome that happens from the library's
20 A No. Obviously as I understand the facts and the            20   standpoint and the professionals who are making these
21 chronology of what's been pled in that case, and I assume    21   decisions about whether the book is consistent with their
22 it's not in dispute, the creation of the Social Section      22   selection criteria, so we want a do-over, we want a
23 occurred concurrently or simultaneously in December,         23   different process. We think the process will favor us if
24 January, early part of 2023, maybe, or late part of 2022,    24   we don't like these books if you give it to these elected
25 with the runup to the legislature with this.                 25   officials.

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 1    What I also know from observation and people talking,      1     Why? Because they're going to be subjected to this
 2 was that the senate sponsor was talking about doing this      2 pressure and the state's answer and I guess the sponsor's
 3 in the summer of 2022. He was talking to people at the        3 answer is it will all work out in the laundry in the long
 4 state library. In fact, I was learning about that because     4 run. If you don't like the results, you'll vote them out.
 5 he was confusing the Central Arkansas Library System with     5     There's a lot of books in my library that I don't
 6 the state library and word was getting back to me.            6 like. It might not pass in Little Rock, but we're going
 7    Again, back to the initial Arkansas, a small town,         7 to keep those books because there's some people who want
 8 these things get around, so I was aware, in the fall of       8 to read those books.
 9 2022, that these issues were coming to a head in the          9     But if you're dealing with these two bad choices, we
10 general assembly, so I'm assuming that librarians around     10 either take the books out and get sued and have to pay the
11 the state were also aware of that.                           11 freight, or we leave the books in and we get excoriated
12 Q But it's your understanding that the Social Section        12 and treated like lepers in our communities because these
13 and Act 372 are separate issues?                             13 people who are so upset about this, I don't speculate long
14 A They are two sides of the same coin. What happened         14 to figure out which of those bad options most people are
15 with the Social Section is exactly what's going to happen,   15 going to take.
16 in my view, all over the state if Act 372 is allowed to go   16 Q So Act 372 sets forth that there has to be an adult
17 into effect with regard to Section 5.                        17 only section in the library; is that right?
18 Q Well, explain that. What do you mean? Do you think         18 A Repeat the question.
19 that the Social Section is what will be if Section 5         19 Q Act 372 sets forth that there has to be a section in
20 goes --                                                      20 the library that is 18 years and older and --
21 A The Social Section is a proxy for moving,                  21 A It doesn't say that --
22 withdrawing, removing, isolating books that people in the    22           MR. ADAMS: Objection. If you want to
23 community find offensive and they're finding offensive       23        quote it --
24 over the content of those books and they're going to go to   24           MR. MCLELLAND: Yeah, let me get a copy.
25 their elected officials in the form of their quorum court    25 A Our argument is that's a consequence of the statute,


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 1 that to comply with the statute and to safely be able to      1 A Yes, that would be, I think, a reasonable assumption
 2 tell my staff you're not going to go to jail for having       2 that I would be willing to make.
 3 Barbara Kingsolver's book in the library, or perhaps any      3 Q Okay.
 4 of the others that might be seen by a five-year-old.          4 A That, yes, those books are in the Social Section
 5 Q So let's say I'll concede to y'all's argument for a         5 because of the content of those books, and more
 6 moment, that if Act 372 goes into effect, there must be an    6 accurately, more precisely, because the content has been
 7 18 year and older section. I'll concede to that point as      7 objected to by some people in the community.
 8 far as like this hypothetical --                              8     I'm unaware, in the library industry, of a category
 9 A Well, the other alternative would be we just don't          9 that professional librarians use that's called Social
10 collect these books that are deemed to be offensive by       10 Section. I'm not aware, outside of this Crawford County
11 some members of the community. So there's that option.       11 context, of that Social Section being a category of
12 You can let everybody in the library, but just don't have    12 classification of books or identifying books.
13 any books that some people find to be inappropriate.         13 Q Do you know who the library director was at the
14 Q Okay. Do you understand the Social Section to be           14 Crawford County Library System when the Social Section was
15 adults only?                                                 15 created?
16 A I don't know any more than I've told you, but I            16 A I think I read in the deposition who that was.
17 understand it was the consequence of this dispute, that      17 Q If I was to say Deidre Grzymala, would that --
18 they would take some books that had been objected to and     18 A Yes.
19 put them -- I don't know whether it was physically. I        19 Q -- prompt you?
20 don't know what it looked like or where it was, but they     20 A Yes.
21 were labeled the Social Section. I assume there was some     21 Q Okay. Do you know whether Ms. Grzymala has a masters
22 sort of segmentation or segregation of those materials       22 in library science?
23 into that section.                                           23 A I do not.
24     Experience tells me that most public libraries in the    24 Q Okay. Earlier, Mr. Coulter, you talked about, with
25 town the size of Alma or Van Buren or Mountainburg, or any   25 Mr. Watson, that the community's demand kind of drives the


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 1 other towns in Crawford County might have libraries that      1 decisions for what the library has as far as its content.
 2 are all going to be one-room venues and it's going to be      2     Do you remember discussing kind of how if a book is
 3 hard to have a separate section with a door on it that you    3 really high in demand, the library will acquire more
 4 say this is the Social Section, but I haven't been to any     4 copies, as far as its process of determining what's in its
 5 of those libraries, so I don't know, but my guess is          5 collection?
 6 there's a shelf somewhere that says the Social Section.       6 A Yeah, I think I said the customer demand.
 7 Q Well, I'd be happy to represent to you that they're         7 Q Okay.
 8 multiroom buildings. They have a very robust library          8 A If the book is something that the people want, we're
 9 system in Crawford County that they're very, very proud       9 going try to provide it. The reference to one of the
10 of, as we learned last week.                                 10 books in the Sarah Maas series, A Court of Silver Flames,
11     So you don't know whether the Social Section is for      11 I think it was, people want that, but we determined -- the
12 adults only?                                                 12 staff determined that needs to be out of the young adult
13 A No, I have no idea what the Social Section is.             13 section and into the adult section.
14 Q Have you ever -- one of the books that keeps coming        14     That book, the one I brought, as I indicated, was one
15 up, and in Judge Keith's deposition you may have seen it,    15 that was so popular that we didn't have a copy available
16 was a book called Uncle Bobby's Wedding. Have you heard      16 when I decided to bring that, and we had to go purchase
17 of that book?                                                17 one.
18 A I don't think I had heard of it before I skimmed           18     So those things all indicate some sort of consumer or
19 through that transcript.                                     19 customer feedback loop that we were responding to when we
20 Q So you've never read it?                                   20 decide how many copies of a certain book, or whether to
21 A No.                                                        21 collect certain books.
22 Q Okay. So you're not aware whether the Social Section       22     If it's a series and you're the library collection
23 is adults only. Are you aware whether the Social Section     23 development person, you know from the first series that
24 is segregating books based upon viewpoint? I think           24 people are reading it, so you have less concern about
25 earlier you testified that you think it is.                  25 buying it on the back end because there's already been


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 1 obvious consumer demand for that author's series and you      1   half later they reduced -- the people in the community
 2 go ahead and buy it and you might buy more of them because    2   objected to that, don't like that type of content in the
 3 it's been so popular.                                         3   library, initiated and succeeded in reducing the millage
 4     So that's the kind of feedback we're talking about.       4   in Jonesboro and Craighead County.
 5 Q And I don't know if you saw this in Judge Keith's           5      Again, the senate sponsor was in a conference last
 6 deposition or not, but if there was, you know, this           6   summer where he was recorded on tape saying we got their
 7 consumer demand to have books in the library, they want       7   attention up in Jonesboro. They had a Pride display way
 8 certain books in the library about LGBTQ families or          8   out front and we decided, in essence, to teach them a
 9 things of that nature, there is that demand, and the          9   lesson, we cut the millage. That's the key to do this,
10 library wants to facilitate that demand, but to do so        10   you cut the funding.
11 required a compromise of sorts, is it your view that, you    11      So all that tells me, is that's another lever of
12 know, that's still kind of content-based restriction if      12   political influence that this whole Section 5 will kick
13 it's segregating that material based upon it's a LGBTQ       13   wide open. If you don't take these books out, Crawford
14 material?                                                    14   County JPs, we'll fix you, we'll go -- you may like the
15 A Are you talking about with the Social Section?             15   library, you may like the library in its current
16 Q Yes, with the Social Section.                              16   configuration, but I'm telling you if you don't get these
17 A Again, not knowing precisely what the perimeter or         17   books out, then we're going to go circulate petitions and
18 parameters are of the Social Section guidelines they've      18   cut the millage, so that the library goes away or its
19 instituted, I'm nonetheless confident that's a               19   underfunded. And look what happened in Jonesboro, they'll
20 content-based guideline. Whether they're formally reduced    20   say.
21 to writing or not, I think they are clearly being erected    21      So, yes, that's another example of why Section 5
22 based on the community's objection to certain things.        22   enables that kind of political hardball to punish the
23     If the point is -- if the community objects and you      23   people in the community who want a broad collection of
24 take the community's objection and make content-based        24   books, and I think that's part of the reason why this
25 decisions to move or segregate, I think that's going to      25   statute is unconstitutional. It's enabling content-based

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 1 run afoul of the constitution and I'm not sure if that        1 decision-making by the elected officials, rather than the
 2 answers your question or not.                                 2 professionals in the library and on the library board.
 3 Q Kind of. What I'm trying to square here is that, you        3    The senate sponsor says, in one of his public
 4 know, Crawford County's position that, you know, we are       4 discussions, the library boards are not accountable. I
 5 trying to -- or my client is trying to come up with a         5 think the library boards are accountable and they are able
 6 compromise to, you know, stave off a potential defunding      6 to be a lot more sensitive to the needs and readers'
 7 effort that was threatened against them, defunding the        7 interest for the entire community than the elected quorum
 8 library, decreasing its millage is the more proper way to     8 court members.
 9 say that. And they're trying to prevent that and so they      9 Q The books that you brought today that you reviewed
10 kind of came up with this compromise based upon kind of      10 with Mr. Watson, do you know if the Crawford County
11 the community and it was orchestrated by then Library        11 Library System has those books?
12 Director Grzymala, and for me that sounds like customer      12 A I do not.
13 demand in listening to the customers of the library, but     13 Q Do you know if they are housed in the Social Section?
14 I'm taking it that in your view that's not customer demand   14 A I do not.
15 and I'm trying to square that round.                         15 Q I don't think I have much more. Let me check.
16 A In -- in my analysis that's squarely what I predicted      16    All right. That's all I've got. Thank you.
17 to the house judiciary committee. People don't like          17 A Thank you.
18 certain books, content-based objections.                     18           MR. ADAMS: Do you have any follow-up on
19     LGBTQ+ books. Let's say they don't like Gender           19       that?
20 Queer, or pick some of these other books, All Boys Aren't    20           MR. WATSON: No, you go first. You like to
21 Blue, and they leverage their demand that those books be     21       go last, John, I noticed that.
22 taken out by, I guess in your case, you're telling me by     22           MR. ADAMS: Let us talk about Sam's
23 threatening to reduce the millage and I think you can look   23       questions and see if there's anything we need to
24 to what happened in Jonesboro and Craighead County.          24       follow up on and then we'll come back and maybe
25     They had a Pride display in June of '21, a year and a    25       we can do the whole thing.


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 1            MR. WATSON: All right.                             1 purview, in elementary school in Little Rock had that book
 2            MR. ADAMS: We'll take a ten-minute break           2 for some reason and opened it to one of the scenes that we
 3         and we'll go off the record.                          3 were thumbing through this morning, that ten-year-old
 4           (Brief recess was taken.)                           4 would find the sexual depiction the only thing they would
 5                EXAMINATION                                    5 remember and think about and be looking for that book
 6 BY MR. ADAMS:                                                 6 again to explore, as opposed to the eighteen-year-old.
 7 Q All right. Thank you, Nate. I'm going to ask a few          7     So, yes, I think the short answer is based on life
 8 follow-up questions and I'm going to focus on the             8 experience and based on observation, that the
 9 questions that Mr. Watson asked you about the seven books     9 eight-year-old, the ten-year-old is going to be much more
10 you brought pursuant to his Subpoena Duces Tecum and you     10 drawn to and intrigued by, interested in the sexual
11 brought under protest and with the reservations that we      11 depictions -- the depictions of sexual intercourse and
12 made.                                                        12 other things that are in The Handmaid's Tale (Graphic
13     I think he asked you, with respect to at least some      13 Novel).
14 of them, and maybe with respect to all, whether these        14 Q But you mentioned the social critique or argument the
15 books had an intent to excite the reader.                    15 book makes. That argument is likely to be comprehensible
16     Is it your view that that analysis is likely to be       16 to a seventeen-year-old, so the predominant effect on the
17 quite different with respect to a young minor, as opposed    17 seventeen-year-old might have to do with that point about
18 to with respect to an older minor?                           18 the structure of society, whereas the predominant effect
19 A I guess if you and Mr. Watson are using excite in the      19 on a ten-year-old is likely to be just --
20 context of sexual excitement or sexual stimulation, you      20 A Right.
21 know, I was once a minor and know that the interests that    21 Q -- the visual depictions in the book?
22 you have in sort of exploring sexuality or exploring         22 A Right. The ten-year-old who for whatever reasons in
23 sexually-related topics when you're 8, 10, 12, 14, 16 all    23 our hypothetical reads Bastard out of Carolina, would have
24 is a shifting focus.                                         24 a different interest level in the social commentary
25     So I think what I said was notwithstanding whatever      25 implicit in that book about incest or domestic sexual


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 1 the intent and the objective of the author was, that in       1 abuse than the eighteen-year-olds, seventeen-year-old, the
 2 some instances I'm certain that in some age category of       2 sixteen-year-old, the fifteen-year-old, perhaps.
 3 minors, younger minors, the immature minors for whom sex      3     So it is clear that, as I've to tried to make the
 4 is a more novel subject, and there are fewer opportunities    4 point in setting the context of Section 1 this morning,
 5 to read about it, think about it, talk about it, that,        5 that the Arkansas law in regard to harmful to minors being
 6 yes, it could well be sexually provocative, exciting.         6 applied to all minors across the spectrum of people who
 7 Q Okay. So there's another phrase in the harmful to           7 are under 18 gives -- makes this challenging because while
 8 minors statute, which is predominant tendency and it's in     8 Demon Copperfield is not going be appeal to prurient
 9 the first of the three factors. So I'll read the whole        9 interests of someone my age or a seventeen-year-old, it
10 factor.                                                      10 may well appeal to that interest of someone for whom that
11     "The average person 18 years or older applying           11 topic is novel and they don't have opportunities or they
12 contemporary community standards would find that the         12 don't have experience in dealing with that topic and they
13 material or performance has the predominant tendency to      13 also don't have any awareness, chances are, about opioid
14 appeal to a prurient interest in sex to minors."             14 addiction, foster care in Southwest Virginia and how the
15     So I want to ask a closely-related question. So with     15 system failed so many people.
16 respect to, for example, The Handmaid's Tale (Graphic        16 Q So I want to turn to sort of an analogous question
17 Novel), would the average person 18 years or older likely    17 with respect to the third factor, which Mr. Watson made
18 judge the predominate effect of this book as very            18 reference to as well. Another factor in the harmful to
19 different from age five to age ten to age seventeen?         19 minors test says the material or performance lacks serious
20 A Yes. Again, you're right, it's related to my               20 literary, scientific, medical, artistic or political value
21 previous answer. The older we get -- and this might be a     21 for minors, and I'm going, as a shorthand, let's just call
22 continuum that goes until the late stage of our life,        22 that serious value.
23 content pertaining to sex becomes less novel or              23     Is it for similar reasons, part of what you're
24 titillating or appealing or stands out less.                 24 imagining is that books may well have serious value for an
25     So you can imagine if a ten-year-old, in my wife's       25 older minor and the adults, but not have serious value for


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 1 a younger minor?                                              1     With respect to every other book that's on the list,
 2 A The easy answer that is the more -- the older we are        2 we did have, currently, a copy of the printed edition in
 3 the more serious we are. The older we are the more we         3 our collection and that includes, as I think I mentioned
 4 have the capacity to grasp serious things, social             4 this morning, several of the ones I've brought here; It's
 5 comments, societal dysfunction, domestic dysfunction,         5 Perfectly Normal by Harris and Emberley, the Handmaid's
 6 sexual abuse, sexual S&M because we have a more serious       6 Tale (Graphic Novel) by Margaret Atwood and the Sarah Maas
 7 view of the world. We've encountered more experiences.        7 book, A Court of Mist and Fury.
 8     If you're six, eight, ten, you don't have any of          8 Q Okay. Thank you for that context. I think that's
 9 that, so the eclipsing thing in those books where there's     9 all I have.
10 sexual content, is going to be the sexual content because    10             FURTHER EXAMINATION
11 they don't have the context to associate it in the picture   11 BY MR. WATSON:
12 that the author likely intended, which is a part of the      12 Q I think I have just two questions. Just a moment ago
13 this story that may help tell the storey, expose the         13 Mr. Adams asked you questions about the difference between
14 characters for them. For the eight-year-olds, you know,      14 older and younger minors and several questions related to
15 that's the only story.                                       15 that.
16 Q Okay. I think just for the sake of clarity in the          16     Are you an expert related to children's psychological
17 record, my last question is just going to be to provide      17 development?
18 some context for Exhibit 11. Can you tell us what this       18 A No.
19 list of 30 books is?                                         19 Q So that's just your observations in normal day-to-day
20             MR. WATSON: I don't think Sam ever entered       20 life?
21         that.                                                21 A I am not board certified or licensed in any sort of
22             MR. MCLELLAND: Yeah, I didn't. I forgot.         22 clinical fashion. My only basis for those assessments
23         It didn't come up so.                                23 would be a combination of my own living experience as a,
24   (Exhibit No. 11 was marked & attached hereto.)             24 you know, male who, as I indicated, was once a teenager
25 BY MR. ADAMS:                                                25 and a pre-teen, and I have raised three children, two of


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 1 Q Oh, okay. There was a discussion about a list that          1 whom were males and I've been around a lot of kids in the
 2 CALS received from the State Board of Education and we        2 context of being a parent.
 3 wanted to just talk about what that list is. Do you mind      3    And have staff who obviously are involved with
 4 identifying Exhibit 11 for the record, please?                4 children's library program all the time and procure books
 5 A This is a spreadsheet that my staff, I believe,             5 for the system and I've been married for a long number of
 6 again, in person of Leslie Blanchard, who's the Collection    6 years to a woman who's an elementary educator, so I have
 7 Development manager, generated, in response to a request      7 some real world observation vantage point, but nothing
 8 for information from the Arkansas State Library Director      8 that would pass or qualify me to give expert opinion in
 9 Jennifer Chilcoat, the request from Ms. Chilcoat contained    9 the case or to give advice to a struggling parent or
10 a list, which she attributed to some member of the State     10 anybody else with regard to some psychological condition
11 Library Board who wanted to know, with respect to the        11 of a child.
12 libraries in the state, do you currently own a print copy    12 Q Okay. And one final question, Mr. McLelland asked
13 of this, do you currently own a digital copy of this, and    13 you a question. I don't recall the question, but the
14 by this I mean, every book that's contained on that state    14 answer was that you believe library boards are
15 library board member's itemization.                          15 accountable. You know, we were talking the quorum court
16     There were also components, did you previously own it    16 versus the library boards.
17 in its print format and previously own it in it's digital    17    What did you mean by that phrase and to whom
18 format?                                                      18 specifically are they accountable?
19     With respect to these 30 items we had -- we currently    19 A They are accountable to the community who has them,
20 own print editions of -- if it's 30, there are only two      20 as their representatives, making the decisions about the
21 that Ms. Blanchard indicated, no, we don't currently have    21 funding of the library and about the collection in the
22 in the collection, The Exact Opposite of Okay by Laura       22 library.
23 Steven and Chicken Girl by Heather Smith. And I see here,    23    They are accountable to everyone in the community,
24 too, that she indicated we do not have a digital license     24 not just those who might have political access or
25 to circulate those either.                                   25 political leverage or be politically sophisticated. They


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 1 are accountable to the values that librarians strive to       1 Q    That's all I've got. Thank you.
 2 uphold regarding the freedom to read and intellectual         2 A    Thank you.
 3 freedom. Obviously, issues of privacy and individuality,      3 Q    As much fun as it's been, nothing from me.
 4 all of which we think are relates to the point of trying      4            MR. ADAMS: Anybody on the Zoom?
 5 to maintain a diverse collection for the entire community,    5         (WHEREUPON, at 3:30 p.m.,the
 6 and trying to do what we can to resist efforts to sensor      6          above deposition concluded.)
 7 by using the government to restrict what some people in       7
 8 the community might read.                                     8
 9     So we think we're accountable to the values that          9
10 librarians uphold and libraries as a public institution      10
11 upholds, and I think we're accountable to the community to   11
12 be good stewards with their money and try to get as many     12
13 books as we can for them to circulate.                       13
14     And as some of the testimony has indicated, to follow    14
15 the guidelines about making sure, as much as we can, that    15
16 things are in age appropriate places and that we are         16
17 providing assistance to adults and children who ask for      17
18 some guidance about what their particular topic of           18
19 interest is. We want to provide service too.                 19
20     So we're accountable in all those ways that I think      20
21 is a broader accountability than, perhaps, others in the     21
22 community might have.                                        22
23 Q Okay. And I think you might be anticipating my next        23
24 question. So when I hear the word accountable, I             24
25 generally think like you report to someone who holds you     25


                                                     Page 158                                                          Page 160
                                                                 1                   C E R T I F I C A T E
 1 accountable. Is there anyone that the board reports to?
                                                                 2
 2 A Well, in essence, the board serves at the pleasure of           STATE OF ARKANSAS }
                                                                 3                     }
 3 the appointing entities. In our case, there is seven              COUNTY OF FAULKNER}
                                                                 4
 4 Little Rock representatives. There are two from Pulaski           RE:   ORAL DEPOSITION OF DONALD NATHAN COULTER, ESQ.
                                                                 5
 5 County, and there is a single member from Maumelle,               I, Michelle R. Satterfield, CCR, a Notary Public in and
 6 Sherwood, Jacksonville and Perry County.                      6   for Faulkner County, Arkansas, do hereby certify that the
                                                                     transcript of the foregoing deposition accurately reflects
 7     So in each of those cases, those individuals who are      7   the testimony given; and that the foregoing was
                                                                     transcribed by me, or under my supervision, on my Eclipse
 8 appointed by those municipalities and county governments      8   computerized transcription system from my machine
                                                                     shorthand notes taken at the time and place set out on the
 9 are representing those entities that appoint them, so they    9   caption hereto, the witness having been duly cautioned and
                                                                     sworn, or affirmed, to tell the truth, the whole truth and
10 would be accountable to the communities that appoint them    10   nothing but the truth.
                                                                     I FURTHER CERTIFY that I am neither counsel for, related
11 in the first instance.                                       11   to, nor employed by any of the parties to the action in
                                                                     which this proceeding was taken; and, further that I am
12     But they obviously serve the system. So let's say        12   not a relative or employee of any attorney or counsel
                                                                     employed by the parties hereto, nor financially
13 I'm the representative from Maumelle, but I'm accountable    13   interested, or otherwise, in the outcome of this action.
                                                                     In accordance with the Arkansas Rules of Civil Procedure,
14 to the entire service area. So they don't report in the      14   Rule 30(e), review of the foregoing transcript by the
                                                                     witness was not requested by the deponent or any party
15 way that I report to the board. The board doesn't report     15   thereto.
                                                                     GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 11th
16 to the county judge or the mayor of Maumelle, but the        16   day of April 2024.
17 board is certainly serving at the pleasure of those          17
18 individuals they -- we don't have a provision, that I'm      18
19 aware of, that would allow someone in one of those           19
20 positions of appointing a board member to recall the board   20
                                                                                             _________________________________
21 member, but the board terms are three years and if someone   21                             Michelle R. Satterfield, CCR
                                                                                               LS Certificate No. 570
22 who's appointed didn't uphold those obligations to           22                             Notary Public in and for
                                                                                               Faulkner County, Arkansas
23 represent, in this case, let's say Maumelle again, then I    23
24 would assume, in theory, that someone else would be          24
25 appointed.                                                   25


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